                       Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 1 of 124


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                                     UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                           75 TED TURNER S.W
                                          ATLANTA, GA 30303


  FRANTZ GERMA I N,
   Plaintiff,                                                                                           V-296
            V
                                                                        CIVIL ACT ION
  THE STATE OF FLORIDA                                                DEMAND JURY TR I AL
  GOV RONALD D. DESANTIS
  OfflCE OF ATTORNEY GENERAL
  ASHLEY MOO DY
  THE STATE BAR OF FLOR I DA PRES IDENT
  SCOTT WESTI-IEIMER
  BROWARD CO UNTY SHERIFF
  GREGORY TONY
  ERIC TODD SAL PETER
  CHERYL BUCl<ER
  PENNY T AYLOR-MI LLER
  JUDGE DAV ID HAIMES
  JU DGE SUSAN LEBOW
  Defenclant(s),




                                              COMPLAJNT


   This lawsuit is brought prose and is based on 46 CFR §§ 29 Negli gence, which defines

   negligence as the commission or omission of an act that a reasonable and prudent person in th e

   same circumstances would not do. It also involves 42 USC Ch.21 civil rights, which are ri ghts

   protected by law. Title 18, U .S .C., Section 242 addresses Deprivation of Rights Under Color o f

  Law, maki ng it a crime for anyone act ing under the co lor of law to willfully deprive a person of

  their rights secured by th e Constitu tion and laws of the U.S. This law also prohibits subjecting

  individuals to d ifferent treatment based on their status as an ali en or their color or race. The

  lawsuit seeks damages for intentional discrimination in property rights, deprivation of rights, and

  equal protection under U.S . Code 111 6 and 15 U.S . Code 26 . It is filed against the State of

  Florida, State Bar of Florida Board of Governors, and Florida State Attorney General Ashley
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Moody collectively for various violations including fa lse arrest, police bruta lity, and violation of

constitutional amendments, among others. Title 18 U .S.C., section 242 proh ibits the willful

deprivation of rights under the color of law in any State, territory, Commonwea lth, Possession,

or District.




                                          JURISDICTION AND VENUE


            I. Thi s Co urt has jurisdict ion over thi s matter pursuant to 28 U.S.C. §§ 1331 and 1343, as
           thi s action invo lves federa l questi ons rega rding the deprivati on of rig hts und er§ 198 1.
           Ve nue is proper in thi s Co u11 und er 28 U. S.C. §§ 139 1 a nd 1396.

           2. Thi s Co urt has suppl e me ntal juri sdi cti on over re lated state a nd loca l law c laims pursuant
           to 28 U.S .C. § I 367(a). Venu e is pro per in thi s di stri ct und er 28 U.S.C. § 13 9 l (b) bec au se a
           s ubstantial part o f th e eve nt s o r o mi ss io ns g iv in g ri se to thi s ac ti on, inc lud in g certa in of th e
           all eged unl aw fu l negli ge nce practices, occ urred und e r the Federa l Law

          3. A civ il ri ght is an e nfo rcea ble right or privil ege, the interference with w hich by a nothe r
          gives ri se to a n acti o n fo r injury. Var io us jurisdi ctions have e nacted statutes to prevent
          di scrimin ati o n based on a person's race, sex, re li gion, age, di sab ility, nati ona l ori g in , and in
          so me insta nces sex ua l orie nt ati o n.



                                                       PARTIES
                                                          Plainti ff
                                               Fra ntz Germ a in-Pl a in tiff
                                                       Defe nd ants
                                         Eri c Sa lpe ter, Bar Number 178209
                                        C hery l Bucker, Ba r Num ber I 15967
                                     Pe nny Tay lor-M ill er, Bar Number 86262
                                           G rego ,y Tony Broward S heriff
                                  Ronald Dion DeSa ntis Governor State of Florida
                                    As hley Moody Flo rida Att orn ey Ge nera l
                                  Scott Wes th e im cr State Bar o f Flo ri da Pres ident
                                     Susa n Lebow Senio r Circ uit Cou rt Jud ge
                                    Davi d A Haimes circui t Judge Ci rcu it Judge
                                        Marty Kiar Broward County Property Appraiser

                                                   INTRODUCTION

Th e Florida Atto rney G e ne ral' s O ffi ce, th e Fl o rid a De pa1ime nt of Law Enforce m e nt ( FDL E)

Co mmi ss io ner, a nd th e S tate Bar o f Flo rida Pres id e nt ha ve co ll e cti vely V io la ted th e
                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 3 of 124




consti tutional ri ghts of indi viduals in the United States and the State of Florida. Section 242 of

Title 18 makes it a crime for anyo ne actin g und er th e color of law lo wi ll full y depri ve a perso n of

th eir ri ghts protected by th e Constituti on or Federa l laws. This includes acts clone by offic ials

both within and beyond th e bounds of th eir lawfu l authority, as long as they are purporting to act

in an official Ca pac ity. T he Florida Civil Ri ghts Ac t of 1992 was enacted to protec t indi viduals

in th e state from di sc rimin at ion based on factors li ke race, co lor, re li gion , sex, and Nationa l

origin . ll aims to sec ure their perso nal di gnity, producti ve ca paciti es, and Ge nera l we lfa re.

Additi onal ly, Secti on 198 1(a) guarantees all perso ns th e sa me Ri ghts as whit e citi ze ns to make

contracts, sue, give evidence, and enj oy th e full Protection of th e law. However, it appea rs th at

Florida crimi na l justi ce depa rtm en t heads are knowingl y allow ing ce rtain indi viduals to engage

in racke teerin g and Prope rty fraud sc hemes, including th e use of fak e charges, wro ngfu l arres ts,

and Forged docume nts to take ove r min ori ty-ow ned properti es. Thi s appea rs to be a wides pread

problem in th e South Florida rea l estate marke t.


                                    PRELIMINARY STATEMENT


Th e Florid a State Bar fun cti ons as th e admini strati ve branch of the Fl orida Supreme Co urt,

specifica lly tasked with handlin g matters re lated to the ad mi ss ion and di scip li ne of attorneys.

According to Rul e I General 1- 10 Auth o ri ty and Mi ss ion, the Stat e Bar operates under th e

direction of th e Supreme Co urt fo r matters co nce rning admi ss ions . As per the Florida

Co nstit1.1t ion, every ind ividu al who is admitted to practi ce law in th e state aut omat ica ll y becomes

a membe r of th e State Bar. The State Bar operates under the auth ori ty of the Supreme Court,

whi ch holds inherent juri sdi ct ion ove r the practice of law with in th e state. T he establi shment and

main tenance of The Florida Bar as a unifi ed ent ity are auth ori zed by th e Florida Supreme

Co urt's co nstituti onal power to regu late th e practi ce of law in Florida. Th e Ru les of Profess ional
                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 4 of 124




Co ndu ct, estab lished by the co urt, set fo rth the sta nd ard s of pro fess ional practi ce for lawye rs.

The primary objectives of th e character and fitness in vesti gat ion co nducted pri or to ad mi ssio n to

The Flori da Bar are to protec t the publi c and uphold the integrity of th e jud icial system. I have

initi ated this federa l lawsuit aga inst th e State Bar of Florida and th e State of Florid a co llective ly,

seek in g mon etary da mages and other form s of re l icf fo r intenti onal di srega rd of co mpla ints

req uest ing discip lina ry actions aga in st attorn eys Eri c Todd Sa lpeter (Ba r

Number: 178209), Cheryl Beth Bucker (Bar Nu mber: 11 5967), Penny Taylo r-Miller (Ba r

Nu mb er: 86262), and Edward Misle h. These atto rn eys had engaging in var ious mi sconduct,

including initi atin g a fake fo reign judgment re lated to prope rty fraud, knowi ngly making fa lse

statement s, vio lat ing th e Rul es of Professional Conduct, engag ing in dishones ty, fraud, deceit,

mi srepresen tation, and co ndu ct prej udi cial to the admini strati on.


                             ERIC SAL PETER FRAUD CONSPIRACY

Eri c Salpeter, a real estate attorn ey from th e Florida Bar, has been involved in a criminal scheme

th at has troubl ed me for nearly fo ur yea rs to acq uire my property. In August 2022, Eric Salpeter,

along with Edward Mi sleh, subm itted a fo reign judgment in Browa rd Cou nty, Florida, citing

Florida Statutes 55.505 without reveal ing any de tail s about th e creditor. Subsequ entl y, th ey

initi ated a civil lawsuit to evict my property located at 4 140 NW 62nd Ct Co urt, Cocon ut Cree k,

FL 33073 . The judgmen t ori ginated from th e Superi or Court of Ca liforni a, County of Pl ace r, a

non-j uri sd icti onal ve nu e th at does not app ly to me.
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 5 of 124




                                  The Law Of ces of Edward Misleh
                                                          A   roreulooal CorporaUon
                                                  6.395 US tigbway I . R oclr.Jcdge, FL l2Sl5S
                                          Office: )21-9$1 164                     Fu.: 916-266-940)
                        Rm•U : cd@edwardmi1lch.com                                 Web,lte: www.auorncy-.ucramcnto.com




                                                                           August 5, 2022


                                                                           Certified Mnil
                                                                           Return Receiot Rcaut:sted

                 Frantz Genna.in
                 4140 NW 62"4 Cowt
                 Coconut Creek. FL 33073

                 RE:    N OTICE OF RECORD             G
                        Foreis:n .Judgncnt; RJl       Germain v.s. }t.. rantz Genuain in the Superior Court of
                        California. Coun ty olI ace r ~ Case #SDR-00 5853S


                D ear Mr. G e rmain:


                        Per Florida Statutes 55.S0S (2), lam notifying you that on behalf ofmy client. Rita
                G enna.in.. who is Ulejudeme.nt creditor. the above rcfereocedjudg.n:?ient ha.,: bee n sub mitted to
               The Broward County F Jorid a Recorder's Office fo r recording. Another copy of the judgment is
               attached to thl~ N otice.
                                                                          Re,pcctfully,


                                                                          Edward Mislch, Esquire
                                                                          Attorney for Rita Genna.in,
                                                                          P e titi o n e r/Judgme nt Creditor
              Enclosure:      3/28/2022 Judgment


              cc; Rita G ermain

                                                                                                                  Pall,o l o1




As a result of my initial refusa l, he proceeded w ith a second attempt by fabr ica ting a lease

ag reeme nt in my name, prese ntin g a prop erty deed, and co lludin g with th e co rrupt Judge Dav id

Haimes to wrongfu lly ev ict me as a hom eowner. Subsequently, he tra nsfe rred th e prop erty to

Jo nathan A lanxander from Boca Raton , Flo rid a, a rea l estate age nt he had enlisted to se ll my

property.
                        Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 6 of 124




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            Served:                                                           Eric T S~Jpeter, Esq
                                                                              3864 Sheridan Street
            Not Served:                                                       l·tollywOO<l Fl 33021

       o~t1 : 12/14/2022 Time: 9·25 AM



       On Franl2 Germain 1n Broward County, Florid , by urving 1ho w11h1n named per-son I true copy of lhe writ with the date and
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       www.she riff.org and clicking o n the Icon
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Following hi s eviction , Eric Salpeter promptl y submitted a quit cla im deed on March 24, 2023,

offic iall y record ing himse lf as the recipient of the property with Broward Coun ty acting as the
                      Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 7 of 124




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Eri c Sa lpetcr fabricated a fa lse docu men t claiming that the co urt had authori zed him to sel l my

prope1ty. The sa les ~gree ment stated that the Clerk of Co urt or th eir represe ntati ve, se rving as an

Eliso r fo r the sell er Fra ntz Ge rma in , permitted Sa lpeter to se ll my house fo r $5 10,000 and share

th e profits with his acco mpl ice.
                        Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 9 of 124




       "AS IS" Residential Contract For Sale nd Purchaso
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                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 10 of 124




                                          · 1 PARTNER                                    SW
                                 KELLERWILLIAMS RE ,t\L1Y

                                                   CLOSI NG COSTS NOTICE

                                  4140 NW 62nd Ct. Coconut a-eek, FL 33073
                Property Address:    ==============f=======--
            a.0s1NG com:          Upon the sale of re•I property addition•! costs ay be required b'/ the buy,,r
                                  and/or seller In the form of clo,lng tosts. The f lowlna is • 11st of known major
                                  Ooslng Cost Items typlcolly ch1,aed to the Buy and/or Seller,

            A!tOfTlt'\ll'eti       Abrtnct Charge<            Hazard/Flood lnsu,..n              Real Ertlm! Taxes

                                   Hle lnsur.mce              Prep•ld lntert'SI & E.a            Real Estate Commission

            Appraisal Fees         lender Service Fees        Mo<11age Transfer Fees             Credit Report Fees

            Dlstount Points        Endorsement Fee,           loill Origlmrtion Fees             Intangible Tu

            Sorwy Fees             Doc Stamps                 Homeowners Assoc F               Recordln& , ees
            Not an or the <ost> apply In every tr.insaction, The lender .,-,d/or TTtle   mpany will supply the Buyer
            and/or Seller spedfu: CO<U p,lor to dosing,

            COMPENSATION:             Keller WIRiams Realty Partner> SW will be paid      the O Seller I O Buyer upon
                                     1M eompletlon of tho sale of Real Property,
            flNANCJNG:
                                     Mortgage Interest Rates and Dis<ount Point< va with different flnand1l
                                     Institutions and the mar1<etplaa, on• dally basl The buyer has the right to
                                     select the ltnder and the right to negotiate the n•ncial terms and conditions of
                                     the 1greement.

            INSPECTION:
                                 The buyer hu the right, it their expense to h• the property Inspected for anv
                                 of the condttlons that may adveuely affect the
                                 limited to: General Home, Roof, Termite, Ra
                                 Drywall.
            LEGAL REQUIREMENT: In florid•, all oontncts for the >ale of real prope •re required to be In writing
                                to be enforceable and to comply with lr•v. The uver and/or Seller ha\'9 the
                                right to have lqal counsel review all forms and represent them .




                                                 Oite                  ..,._,, s.ner ~gn;,rure               Date
                                                              The '-lcrll-<?FCo..vl' c,;- !:lt.iiincc. <>-!> E:l\5cr ,:,"
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grew up in th e deep sid e of Lauderhi ll in 13roward Co unty, Florida, an area known for its hi gh
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 11 of 124




rate of vio lent crime. My siblings and I had to nav iga te through a dan gero us environment just to

go to sc hool in the mornin g. After my father passed away, my single mother, who ha d four

children to supp o1i, cou ld onl y afford to li ve in thi s neighborhood. It was th e most dangerous

neighborh ood in th e co unt y, where we witnessed drug trade, murder, manslaughter, domes ti c

abuse, robbery, and more. I spent 13 yea rs li ving in th e "hood" before movi ng away to attend

co ll ege. It was a chall enging experi ence, being surrounded by such a hostil e environment.

wi tn essed and went throu gh things that no one should have to . Li ving in di sadva ntaged

neighborhoods li ke ou rs co mes with a multitude of challenges, including pove1iy, crime,

vi olence, substan ce ab use, and limited access to quality ed uca ti on, hea lthca re, and oppolilmiti es.

Some argue th at the "hood" often has a stron g cultu ra l identity shaped by its residents, with

unique forms of ex press ion, music, art, and language. This cultu ral ri chn ess ca n be a source of

pride and res ili ence for indi viduals growing up in th ese commu niti es. However, unfortun ately,

th e deep side of Lauderhi ll was a different story a ltogeth er. It was a bloodbath san ctu ary, devo id

of any positi ve aspects. As a res ult of the horrifi c ex periences, I endured ; I made a prom ise to

myse lf that one day I wo uld have a house with a backyard in a ga ted co mmunity. I wan ted to

ex peri ence th e fee ling of beco ming a homeowner in a safe and secure environ ment. In the fa ll of

20 17, I ac hie ved th at goa l and purchased a sing le-fa mil y home in Coconut Creek, Florida. The

address is 4 140 N W 62 nd Ct, Coco nut Creek, FL 33073. However, for some reaso n, Eric

Salpeter and hi s tea m ha ve made it ex tremely difti cult for me to enj oy what ri ghtfu ll y belongs to

me.


                                18 U.S. Code§ I 028 F.-aucl a nd re late

The offen se of fraud and related act ivi ty in co nn ect ion wi th ide nt ifi cat ion docum ents under 18

U.S. Code § I 028 includes producing or transfe rrin g identifi ca ti on docum ents unl awfu ll y. This
                     Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 12 of 124




encompasses creating fa lse identificati on docum ents , transferrin g stol en doc um ents, or using

another pe rso n's ide ntifi cati on withou t author iza ti on with th e intent to co mmit un lawfu l act ivities.

                                         10 U.S. Code§ 921 - Ar t.
                                 12 I. La rce ny wro ngful appropr iation

Any individual under th e juri sd iction of thi s chapter who unlawful ly takes, acqu ires, or retain s,

through any means, mon ey, perso nal belongings, or an y va luable item with the intention of

permanently depriving or deceiving anoth er indi vidual of the ow nership and benefits of the

property, or approp ri at ing it for their own use or th e use of so meo ne oth er th an th e owner, co mmit s

th eft and is charged wit h larceny; or with th e intention of tempora ril y depriving or dece iving

another indi vidual of the ownersh ip and benefits of the property, or appropriat in g it for th eir own

use or th e use of someone oth er than the owne r, com mi ts wro ngfu l app rop riati on. Any ind ividual

co nvicted of larce ny or wrongful appropriati on will be punished as determi ned by a cou1i-martial.

PC 532 th eft by fa lse pretenses proh ib its dece iving someone of money or propert y through fa lse

promi ses. Th is law proh ibits deceivi ng so meo ne of the ir money or property through fa lse promi ses,

such as persuadin g so meo ne to willingly give up somethin g of va lue based on fraudulent

rep resent ati on.

                                           EDWARD MISLEH
                                         FRAUD CONS PIR ACY

 Edwa rd Mi sleh was admitted to the Ca liforni a State Bar on Decem ber 2 1, 20 I 0. Howeve r, his

 membership was revoked by th e Ca li fo rni a Sup reme Court on Apri l 04, 2024 , resulting in

 permanent disbarment due to hi s misco ndu ct. Mi sleh, who att end ed law school in th e late 50s

 and co mpleted hi s stud ies in hi s ea rl y 60s, faced chall enges fro m younger and more competent

 attorn eys. This led him to rcso 1i to deceptiv e practi ces to co ntinue pract icing law and make a

 profit. Mi sleh's main act ion in vo lves fabri catin g fa lse judgments, whi ch are th en published in
               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 13 of 124




 newspapers to forec lose on propert ies owned by elderly indi vidu als, indi vidual s from the

 Cari bbea n, and those with mental illn esses. I . Edward A M isleh #273645 License Status:I

1Mi4ffli4§h,@G@Jn¼i§lb!§J]f\ddress Address : 6395 Us Highway Rockledge, FL 32955. On
February 23 rd, 2022, 1 was se nt a harass ing email rega rdin g the sa le ofmy house, followed by a

notice of a reco rd ed fo reign judgment on my property was 1·eccived on August 1 1th, 2022




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         Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 14 of 124




          EDWARD MISLEI (SBN 273645)
          THE LAW OFFICE OF EDWARD Ml                                   Filed - 03/28/2022
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          ROCKLEDOE, FL )          SS                                  AU~o.t-llllC -
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     3    Tel: (32 1) 951 -9 164
          Fax: (9 I 6) 266-9403

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 9       RITA GERMAIN
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         ...                                                   Hearins O.u: 11129/202 I
                                                               Hearing 11me: 9:00 A.M.
13       FRANZ GERMAIN                                         Depanmcnr: I
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18                                            on for mil on November 29, 2021 In Department I of the
l9       above-entitled Court.
20             Petitioner.RITA GERMAIN,           rcinaftcr rcftm,d to u ·Potillon r'' "Rila" o, collectively u
21       -Parti s") appnred pcnoaally viav

22       Esquire. Responde nt, FRANTZ OE            ArN (hueinaftcr re(emd to u ··Respondent• "Frantz''
23       collectively 11 •P111icJ") appeared po       tlly via video as a sel f ~nt1'd litia-r,1.
2~                                                    'monlal and documenlary.
25       I. SUES AT TRIAL
26             I. Child custody;
27             2. Child suppon.;
28
  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 15 of 124




                        The Fin a l Jud gem en t August 11th, 2022

([J 1 of 6
                                                   A

                                 NOTICE OF RECO RDING FOR£1GN JUDGMENT
                                  Dote Rcco,-ded: 08/11/2022
                                  Instrume n t If : 118333267


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                      Co ur t hea rin g Schedul e for Jul y 3"1, 2023
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 16 of 124




Attached are documents for ar1 ex parte hearn,g sch,? uled July 3, 2023 at 8:30 am, PST,
department 41 , Placer County, San tu cc, Jusuce Ce er,




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    VERIFIED RETURN OF SERVICE                                                                             Job # 2022001043

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             The State Bar of California
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San Francisco
Main Office
180 Howard Strcc1
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Attorney Profile
Edward A Misl eh #2736-15

Lice nse Status:   lll!llll'J!I
Address: The Law Offices of Edw,,rd Mis lch, A PC, 6395 Us Highway I, Rockledge. FL 32955-
5746 Phone: 321-95 1-9164 I Fax: 916-266-9403


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                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 22 of 124




                             CHERYL BU CKE R CO-CONSPIRATOR

Chery l Bucker, a co-co nspirator, is th e lates t indi vidual charged und er 18 U.S.C. § 37 1 for

co mmitting a federal crim e. Spec ifi call y, she has been charged w ith 18 U.S.C. § I 5 12(k)

Conspiracy to Obstruct an Official Proceeding, as we ll as 18 U.S. C. §§ 151 2(c)(2) and 2, whi ch

cover Obstru cti on of and Attempt to Obstruct an Offi cial Proceedin g. Additionall y, she has been

charged un de r 18 U.S.C. § 24 1 fo r her all eged crimin al co nduct. The federa l prosec utors are

requ ested to fil e co nspiracy charge. th at cove r th e range of Bucker's all eged criminal acti viti es. It

is all eged th at she has used her pos ition lo int roduce fake documents into co urt pro ceedings in

order to defra ud civilians. Bucke r is accused of producing fake fo rei gn judgments alongs ide

Edwa rd A. Mi slch, specifi ca ll y targetin g bl ack homeown ers. Federal agents arc urged to

thoroughl y in vesti ga te the ev ide nce in order to deve lop a co mprehensive defense strategy.

Conspi racy lo com mit a federa l crim e occ urs when two or more peop le agree to co mmit a

parti cul ar offense, and at leas t one perso n takes an ove11 step to furth er th e co nspi racy. The term

"co nspiracy" ca n be co nfusing in th e fe dera l crimin al justi ce sys tem, as th e governm ent docs not

need to prove a wri tten agree ment between th e pa rti es . Instead, prosec ut ors ca n demonstra te a

co nspiracy by showin g the ind ividu als worked togeth er to co mmit a federa l cri me. In Jul y 2023,

Cheryl Bucker is all eged lo have reg istered a new fak e judgment with a fa bri ca ted elate, claiming

it was a disso lution order from the Sup eri or Co u11 of Ca li forn ia in Pl acer Co unty, ent ered on

Febru ary I 0, 2023 . This fake jud gment was then cl omesti catccl , with a hea rin g held on January

25, 2024. 13 ucker represe nted the petiti oner in thi s matter, and a defa ult judg ment was gra nt ed on

February I, 2024 aga inst th e respo ndent. Attorn ey Bucker deli be rate ly fab ri cated th e fa lse

judgment in order to perp etrat e fraud and infli ct excruciati ng pain . Sh e has vio lated both Federa l

law and Flori da statutes 8 12. 155 , w hi ch outl ines th e offense of obtaining perso nal prope1ty or
                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 23 of 124




equipment with the intent to defraud. T his is co nsidered a severe offense that should res ult in

imp riso nm ent. The fe deral governm ent defines fraud as an intent ional deception or

mi sreprese ntati on of fac ts for the purpose of ga inin g an un fa ir advantage, and it can invo lve

activities such as makin g false statements, using fraudul ent docum ents, and engaging in other


decept ive acti viti es.



                                                                                      IN THE CIRCUIT COURT Of Tl IE 17"
                                                                                      JUDICIAL CIRCUIT, IN A D FOR
                                                                                      BROWARD COUNTY, FLOR IDA

               fN THE FORMER MARRIAGE OF:                                             C1.1se No .: FMCE-23- 10724

               RJTA GERMAIN ,
                       P<..·ti t ioncr.

                       and

               FRANTZ GERMAfN,
                       Respon dent.


                 O F.FAULT F"I NAL .r        )GMENT O DOMES "f CATIO : A O ENVORCEMl-: NT                                NO
                                          ORDER APPO I NTINC SP C IAL ~JAG JSTRATE

                       Tl-ltS M r\TTER came to be heard on Jum iry 25, 2024, upon the Am<."ndcd Pctilion for
               Domcslication und Enforcement. filed by the Peti 0 11er, RITA GER.NIAIN. The Petitioner was
               pre.sen! ar1d WB S represented by Cheryl Bucker, t:: • A Clc rk "'i Defaull was cn1ercd againsl lhc
               Respondent on November 22 , 2023, for failure 10 st ve o r file uny paper as n:quired by law . Notice
               uf the Default I !caring was s~rvcd on the Rc-spo, .lent, via email: rrant,-701 @yahoo com. The
               Co urt, huving hc:ird ;1rgumcnls of coun,.cl, tcs1i mon of the p:in ics , hnving reviewed l hl! plcndings,
               ar~d being fully advised in the premises, docs herd

               ORDER, ADJUDGE AND DECREE:

                       I.         The Court h:isjurisdiction of the p            · s :ind the su bjccl mmter.

                      2.         The Jud g ment of Dissolution from the Superior Coc1, of Cnlifornia in Placer
                                 County, C.Jllcrcd on February 10. 2023. i1 hereby domesticated.

                      3.         Funhennorc, 1h e following prov isio ns co11u1incd within J udgment ()f Dissolutio n
                                 from the Superior Coun of California in Pincer Counly, en tered on f ebruary 10,
                                 2023, arc hereby enforced:

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                                 Based upon fhe foreJ.:<Jinl!,, the co11rt hereby finds 1ha1 the presvmed c hild support
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                                 201 I . The courl hm· now received '1Videncc of inco me nor r~adily avai/nhle al the



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    Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 24 of 124




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        c.   Page 6 of 11 (Line, 20-26),

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lilJ 3 ot 5
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     Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 27 of 124




          X.         l'ur,ualll l(l pag..: 10 ('\r 11. pJ.rag,.1ph l)(t..l}(iJ. of lhL' Judblllt..'111 ll~ f)i~\.{llutin~1 r~ulll
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          10.       Pursuant 10 rage CJ (_Ir 11. par.igrnph 71 nr (hi.' Judgment \,.lf DiiSOILl~ion from thl'
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         11.     l'uNll311t to png~ 9 of 11. par,graph I0, of the Jlldgmcn t of Db olution from the
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  .816.00 pJu.., intL'rn.t :ll th(' rntc of -l.31% per annum, ~h:ill be paid from lh~ R spondcnt s slrnrr
ofth.: ni.!.t sak·~ proceeds ofth1.~ Cocontll Cree~ home.

         12.      Pur,uant 10 pagl' 9 of 11. paragraph 111 of thi: Judgment of Divmlution fr0m the
Superio r Coun or Califomin d:itcd l·cbrua~ Io. 2023. thc.:- pa~ m<.-nt of 750 pl'f month for long~
11.:rm ~pousal >Uftprirt for :t period of I 111on1hs co111m.:nciog Fchru&Jr~ I. 2022 1hrough July 31,
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        13.      Pur. . uant to papc 10 of 11. p3r:tgraph I ➔ , of the Judgment of Dissoltnion from lhl.'
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           15.     In add1tit,n. Pctilinnn lc!.tifirj lh;1l she poi ht.:r m10rnc) S..i.500.00 r~, r li.•,·s :md
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        17.       If the .Rcspondcn1: . ~h:1rc of the net snlc-s prtiC1t:L·d~ .1rc insufliL-iL:nt to p:1) thl·
m11,>um1, on.kri.:d hcrc111, :111: rL•rn;1u11ng ha lancc <med 10 1hc Pc1ition L·r ~h,111 he ri:dun·,1 w :i monq




                                      PENNY TAYLOR-MILLER
                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 28 of 124




  Co-Co nspirator Penny Tay lor-M ill er, a close protege of Eric Salpeter, is guid ed and supported

by him in all thei r criminal activit ies. The latest of th ese is the frau dul ent judgment secured by her

co ll eague Che1y l Bucker on January 3 1st, 2024 , related to a Californi a case that is now in the appellate

court. Mr. Ge rm ain ha s requ ested that th e Spec ial Ma gistra te ass igned to th is case subm it all

rulin gs from th e Appell ate Co urts or any orders to stay the sale of the propert y, if th ey ex ist. If not, Mr.

Germain plans to comply wi th th e co urt's orde r and sign th e contract as co urt-o rdered. Thi s matter has

led to an in ves ti gat io n into wheth er Defenda nt Eric Todd Sa lpeter's past act iviti es affected the

state bar's handl ing of the case. An indi vidual stated th e sta te bar had ea rl ier been sanctioned for

co ntai nin g fa lse and misleadin g informatio n, as the bar's attorn ey li censing and discip lin e processes are

und er sc rutin y. The rew ritten text clarifi es the key eve nts, actors, and lega l proceed in gs in vo lved,

and present s th e information in a more orga ni zed and co herent ma nn er. I have aimed to im prove the

overa ll fl ow, concision, and im pact of the ori gin al tex t. On 3/ 19/ 2024, at 9:49:0 I, Penny Taylo r-

Miller executed th e tra nsfer of the pro perty deed to CANN ICLE, WINSTON BAR WIS E

CAN ICLE, STACY D DOWNS . She made a false asserti on that Frantz Germain, an unmarried

individual residing at c/o Penny Taylor-Mi ll er, P.A I0100 W. Sample Road, Sui te 332, Cora l Sp rings, FL

33065. T hi s occurrence took place sub sequ ent to her awa reness o f Federa l case Number I :23-

CV-252 pe nding agai nst Broward Co unty in the Uni ted States Di stric t Cou rt fo r the Eastern Dis tri ct of

Tennessee. Conseq uentl y, I had no al tern ati ve but to vo luntaril y withd raw case Nu mber I :23-CV-252

aga inst Broward County and initiate thi s lega l action agai nst the Sta te or Florida due to th eir in adequate

leadership. In Florida, marital property is divided equal ly between spouses, wh il e non-mar ita l

property is not. A deed is a legal document used to tra nsfer ownership of rea l property in the

state. During rea l estate transactions in Florida, bo th parti es must sign the deed to tran sfe r

ownership . Typ ica ll y, th e sell er prov ides the deed at clos ing, but th ey ca n also hi re a rea l es tate

attorney to handle th e process. On ly Florida co urts have th e author ity to div ide pro perty in the
                     Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 29 of 124




state, and evidence must be prese nted to support any claims in court. There is no evid ence from

th e Florida co urt to pro ve th at I have bee n di vo rced in Fl orid a. Th erefore, is un clea r und er what

auth ority Attorney Penn y Tay lor-Mill er is clai ming the ri ght to sell my house without

my co nsent and fa lsely using my address as her own.




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       nvrncrs relat e d there to on hehalf of the Ro s ponclent. which in c ludes execu tin g c losing dor.u men t i;
       fo r s~11e o f the hem p as well Mr, Gorn'\4'1n, 1 sho~Jld o n ly C?xe clil O lhf.l'sA dOC. t1 men1s in Ih a eve nt
       V(l;j rnfl.-.,tt or fall to <..lo so. As such. I will g1vo you untfl 5 p. rn . tomo rrow to execu o l hO
       clocu mcnts. If you do n o t do so, I wou ld nsk Ms 01ss n 1nth o l o adv n:.t:} mo so I can o.xecu te w ith
       !he' authonty providod to me in the Orde r ontcrod Jonua ry 31. 2024 .

       Pt_~1m;- Tnylor -M tU c r. Esq.
       P e nn y Taylo r-M,!ler. P.A.
       10100 \'\' Sample Roal.I , S 1e 33 2
       Cor al Springs. FL 33065
       {~54, 757-2887 Cell (954) 209-5957
       PleJd1ng C- 111 [1 11.      ~.!.1DYln:lllJ..er.@<J1v__gr@!O~Y.slli2!.Prownrd com
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                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 30 of 124




Browa r d County Cornm1ss1on
DeQd Uoc Stamps : $3570.00




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               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 32 of 124




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               The forr.going iuitrumcat W.\1 acknow1c<!aed bt:for• me. by meons of \X] physical pruena. or LJ onl111e 11ol1riation, tl11s.
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A ttorney Penny Taylor-Mill er has committed offenses that contravene Federal Code Title 18,
                   Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 33 of 124




Section 47 1 of the United States. Th is particu lar code delineates a federal crime in which

individuals who engage in the fraudul ent creation, forgery, counterfeiting, or alteration of any

United States security are deemed to be in breach of the law.


                                           42 U.S. Code § 1983 - C ivil
                                         action for deprivation of rights

42 U.S. Code § 1983 slates Ih a! any pe rso n who, under the gui se of any law, regul ati on, or custom of any

Stale or TeJTil ory, subj ec ts a citi zen to th e depri vation of ri ghts guara nt eed by th e Constituti on and laws,

can be held accountab le in a court of law . It is crucia l to understand th at Equ al Protecti on ensures that al l

indi vidua ls are 1rea1ed fa irl y under th e law, rega rdl ess of their ci rcumstances. Thi s prin cipl e is enshrin ed in

the U. S. Constitut ion and must be upheld by all governm ental bodi es.


                                     18 U.S. Code § 1028 Fraud and rel ate

Th e offe nse of fraud and re lated acti vit y in conn ec tio n with identi fica ti on documents under 18 U.S. Code

§ I 028 inc lu des produ cin g or transferri ng identifica tion documents unl awfull y. Thi s enco mpasses crea ting

fa lse identifi ca tio n documents, trans fe rring stolen doc um ent s, or usi ng anoth er perso n's identifi cati on

with out auth ori za tion with th e intent to co mmit un law ful acti vi ti es.



                                                    Count I
                                               Rul e 8. Rules of
                                             Professiona l Conduct

Th e lawyer is pro hi bited from vio latin g th e Rul es of Profess ional Co nduct, ass istin g oth ers in doin g so,
co mmittin g crimin al ac ts th at refl ec t negati ve ly on their hones ty or tru stworth iness, engaging in di shones t
or fraudul ent co ndu ct, behaving in a way that is detrim ental to th e admi nistrati on of justi ce, impl yin g an
abi lity lo imp roperly inlluence a govern ment age ncy or officia l, ass isting a j udge in viola ting ru les of
judicia l conduct, or engag ing in hara ssment or discrim in atio n based on va ri ous fac tors. This paragrap h does
not restri ct a lawyer's abilit y lo accept, dec lin e, or wit hdraw from represen1 a1ion in accord ance with Ru le
 1. 16, nor does it preven t providi ng leg itim ate advice or advocacy. If injun cti ve relief is necessary to preve nt
such co ndu ct from recu rring, the allega tio ns and avc rmc nts in th e spec ifi ed paragraph s are incorporated by
reference.


                                                        Count II
                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 34 of 124




                                           14n 1 AMENDMENT 14
                                      Citizensh ip Clau se SECTION 1-5

All ind ividuals born or naturali zed in the United States, and subjec t 10 its jurisdiction , are co nsidered
ci1i zcns of both the United States and th e State in whic h they res ide. States arc prohibited from passi ng laws
that limit the ri ghts and pri vileges of U.S. citi ze ns, or from depri vin g any person of life, lib erty, or property
withou t due process of law. Additionally, States must ensure th at al l in dividuals wit hin their jurisdiction
are equall y protected under th e law.

                                                  COUNT Ill
                                          42 U.S. Code§ 1983 - Civil
                                        action for deprivation of rights

42 U.S . Code§ 1983 states that any person who, und er the gui se o f any law, regulatio n, or custom of any
State or Territory, subj ects a ci ti zen to the dep ri va tio n of ri ght s gua rant eed by th e Co nstitution and laws,
can be held acco un1 ab le in a cou rt of law. It is crucial to understand that Equal Prot ecti on ensu res th at all
indiv idua ls are trea ted fairly und er the law, rega rdl ess of their circums1ances. This prin ciple is ens hrin ed in
th e U.S. Constitut ion and must be uph el d by all gove rnmental bodi es.

                                                 COUNT IV
                                    I 8 U.S. Code§ I 028 Fraud and relate

Th e offen se of fraud and related acti vi ty in co nnecti on with identificatio n docume nts under 18 U.S. Code
§ I 028 includes producing or transferring identificat ion documents unla wfull y. This encompasses creatin g
fal se identification docum ents, transfe rrin g stolen docum ents, or using anoth er perso n's id entificati on
wi th ou1 au th ori za tio n wi th th e intent 10 commit unlawful ac tivi ti es.

                                                  COUNT V
                                          10 U.S. Code§ 921 - Art.
                                    121. Larcen y wrongfu l appropria lion

Any individua l und er th c juri sdict ion o f thi s chap ter who unl awfully takes , acq uires, or retains, through any
mea ns, money, personal belongings, or an y va lu able item wi th th e in1 en 1i on of perm anentl y dep ri ving or
deceiv ing anoth er indi vidual of th e ow nership and benefits of th e property, or appro pria tin g it for th eir own
use or the use of someone oth er than th e owner, com mits theft and is charged with larceny; or with the
intention of tempora ril y depri vin g or deceivi ng anoth er ind ivi dual o f the ownership and benefits of the
property, or appropriatin g it fo r th eir own use or the use o f someone oth er than the owner, commi ts wrongful
appropri ati on. Any indi vidu al co nvicted or larceny or wron gfu l app rop ri ati on wil l be punished as
determined by a cou rt-marti al. PC 532 theft by false pre1enscs prohibits deceiv ing so meo ne of money or
property throu gh false promises. Thi s law prohibits dece ivin g so meon e of th eir mon ey or property through
false promises, such as persuading someo ne 10 wi ll ing ly give up somethin g or va lu e based on fraudulent
rep resenta ti on.


                                                   COUNT VI
                                           T itle 18, U.S.C., Section
                                        241 Conspiracy Aga in st Rights
                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 35 of 124




This legislati on rend ers it ill ega l for two or more indi vidu als lo conspire in order lo ham,, opp ress,
intimidate, or threa ten any pe rso n from any stale, terri tory, or di strict in th eir exe rcise or enjoyme nt of any
rights or pri vil eges guaranteed to th em by the Co nstituti on or the laws of the United Sta tes, or due lo their
exercise of such rights. Additionall y, it is deemed un law ful for two or more indi viduals to di sg ui se
th emselves and int enti onall y obstruct or impede another person's free exercise or enj oyment of th ese
sec ured ri ghts, whether on th e hi ghway or on someone else's property. Th e pe nal ti es fo r such o ffen ses range
from fines to imp risonme nt for a max imum of ten yea rs, or both . It should be noted th at indi viduals residin g
in Broward County, Flo rida, and not in the County o f Pl acer, may be subject to fin es, impriso nm elll for any
du ration, life impri sonm ent, or even th e dea th penally under th is statute. I hereby reiterate and reaffi rm the
aforementi oned pa ragrap hs as if they were full y stated in detail herein . Sec ti on 1983 of Tit le 42 of the
Uni ted States Code pro hibits any indi vidua l, actin g under the gui se of state law, custom, or practi ce, from
depriving a ci ti zen of ri ghts protected by the Co nstitu ti on.

                                                C OUNT V II
                                       10 U.S . Code§ 921 -Art. 121.
                                    Larceny and wrongful appropriation

Any ind ividu al under the jurisdi cti on of thi s chapter who unl awfull y takes, acquires, or retai ns, throu gh any
mea ns, money, personal belongin gs, or any va luable item wi th the int enti on of perma nentl y depri vin g or
deceiving ano ther indi vidlial of th e ownership and bene fit s of th e prope rty, or to use it for th emse lves or
oth ers, commi ts th eft and is charged with larce ny; or with the int enti on of tem poraril y depri vin g or
deceiving another indi vidual of th e owners hip and benefit s of the property, or to use it for th emse lves or
oth ers, commits wro ngful appro priati on. Any indi vidua l convicted o f larceny or wro ngfu l approp ria ti on
wi ll be senten ced as determi ned by a co urt-m artial.

                                                COUNT VIII
                                     25 C FR § 11.411 C riminal trespas s.

It is considered an offense when an indiv idual knowi ngly enters or stays in a buildin g or occupied structure
without being li censed or privileged to do so. If thi s o ffense occu rs in a dwelli ng at nigh t, it is class ifi ed as
a misdemea nor; oth erwise, it is a petty mi sdem ea nor. Additi onally, an offe nse is co mmitted if a person
enters or remains in a place where notice aga inst trespass is give n th ro ugh actu al co111 111u nicatio n, postin g,
or fenci ng. If th e offen der disobeys an orde r lo leave perso nall y commu ni ca ted by th e owner or auth orized
perso n, it is a petty mi sdemeanor; otherwise, it is a viola tio n.

                                                   C OUNT I X
                                              18 U.S. Code§ 1342
                                           Fictitious name or address

Any individual who, with the intention of conducting, promoting, or engaging in any illegal business
through the Postal Servi ce, utilizes or adopts a fictitious, false, or assu med title, name, or address other than
their own, or requests to be addressed by such a name, or receives any mail matter addressed to suc h a
fictitious, false, or assumed title, name, or address, shall be subject to penalt ies including tines and
imprisonment for a maximum of five years, as stated in section 1341 of this title.


                                                  COUNT X
                                     18 U.S. Code§ 1512 -Tampering
                                  with a w itnes s, victim, or an informant
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 36 of 124




Any indi vidual who knowingly employs intimi datio n, threa tens, or engages in corru pt persuasio n towa rds
another person, or makes an attempt to do so, or partakes in deceptive behavior towa rds another person,
with the intenti on of innucncing, delaying, or obst ru cting lhe tes timony of any individual in an offi cial
proceedin g; ca usin g or ind ucin g any perso n to withh old tes timony, or wit hhold a reco rd, doc ument, or any
other object, from an offi cial proceedi ng; Any individual who com mits murder or allempts to murder
another person, wi th the intention of preventin g th e presence or testimony of any perso n in an official
proceedi ng; obstructin g th e production ofa record , document, or any ot her object, in an official proceeding;
or obstructin g the commu ni cation by any perso n to a la w enfo rcement officer or judge of th e United States
of in fomrn tion pertainin g lo th e commission or poten tia l commission of a federal offense or a violati on of
probation, parole, or release condit io ns pending judi cia l proceedings shall be subject to the presc ribed
punishme nt as stated in th e paragraph.



                                        JUDGE DAVID HAIMES

On December 2 1st, 2022, Jud ge Da vid Haimes, a lo ng with Eric Sa lpeter, o rdered lh e Broward

Sheriffs Office to fraudul ently attack and ev ict me from my purc hased home loca ted at 4 140

NW 62 nd Court, Coco nut Creek, Flori da 33073. T hi s app ea rs to be an ab use o f po we r by th e

judge fo r perso nal interests and financial gai n, based on a see mingly fraudulent judgment. The

order cites Florida Statute 55.505, w hich pertains to the noti ce of a _jud gment fro m anoth er state

relat ed to a credito r an d debtor. However, th e judge and Sal peter did not provide any

docume nta ti on to sub sta nti ate their claim , as req uired by the statute. T his vio lates my Fo urt h

Amendmen t property rig hts. The statut e also stipulates that a judgment notice mu st inc lude

speci fi c detail s like the names, add resses, and amou nts owed of the credito r and debtor. It

appea rs these requ irement s were not met in thi s case. Overall , the act ions of Jud ge Haimes and

Sa lpeter see m to be a fraudul ent ab use of th e _judicia l process fo r the ir ow n perso nal benefit, at

th e ex pense of my lawful prope1ty ri g hts. The ev ict ion ruling by Jud ge Haimes was officia ll y

doc um ented o n Decembe r 22, 2022. As for th e fore ig n judgment, it wa s recorded on August I I,

2022. To proceed wi th th is judgment, th e cred itor is req ui red to submi t an a ffid av it to the clerk

of th e circuit co urt, w hich should co ntain the names, social sec urity numbers, and las t known
                      Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 37 of 124




postal addresses of bo th the debto r a nd th e credi tor re lated to case num ber S-DR-0058535 He re

is th e initia l compla int I fi led aga in st Edward Mi s leh for property fraud , also refe rred to

as deed fraud or "house-s tea ling," a ri s in g w hite -co ll ar crime in Browa rd Co un ty . I immediately

not ifi ed th e authori ti es and took necessa ry measures to safeg uard myse lf. The illega l activity

encompasses the unauthori zed transfe r of property own ership , id entity fo rgery , and the reco rding

of docum ent s in the Offic ia l Reco rd s und e r the pe rpetrator's nam e. The case was as signed to th e

es tee med Honorab le Je ffrey R. Leve nso n Case No. CA CE22003936, and was subsequent ly

tran s fe rred to the Un it ed States D istrict Court clu e to juri sd iction .




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        Plainliffl•) / Petitioner(•)



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                 TI-IIS CAUSE ha,.•ing come be fore the Court upon Michael \'011 Loewe
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                                                                                         C IR CUlT JUDGE
                                                                           Elcctro1uc Hlly Signed by Lcvcn11011. Jeffrey R . (09)

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Jud ge David Haimes, despite th e ev idence prese nted, perso nal ly decided to infringe upon my

constit ution al rights by ordering me to vacate my property wit hout any lega l basi s, citing Florida

Statutes 55. 505.Judge Haimes' conduct towards me was malevol ent, un co nst itutional , and rooted

in instit uti ona l rac ism, also kn own as systemi c rac ism, which refe rs to the prese nce of polic ies

and practices within a ocicty or orga ni zation th at perpetuates and uphold ongo ing unfair

advantages for certain individuals and un fair or detriment al treatment of ot hers based on th eir

ra ce or ethni c group. Florid a Statutes 55 .505 is not related to priva te propert y in any way. On

December, 2022 , Judge David Hai111es achieved a hi stori c 111ilestonc by beco 111ing the first judge

in A111e ri ca to remove a homeowner from th eir purchased property wit hout in vo lving either
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 39 of 124




divorce or forec lo sure. On December 5, 2022, I achieved a hi storic mil estone by beco ming

th e first hom eowner in Am erica to be ev icted from my purchased hom e w ith out renting.




                              CASE NO. CACf:lillill.ll
                  Rh1,1, C~rmaln




                  f'runt"L Ger mial n

                  Dcfcndant(s) / Respor1den1(s)



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                               THIS CAUSE hi;t.ving .;omc vn lQ be- hcurd Dc«.m\xr 21, 2022, OI\
                   GEIUviAfN's. Motion 10 Oismiu P lldn1iff Comr,lain, PurMu,ut 10 f'L. Stt1t\.llo Se< SS..$05 (Motion to
                   Vac:21.c)(thc ·•Motion 10 Vae~te"}: to whkh DdCndan1, Pl:dnttff and t'lnin1i(f's counsel 1,pp.i!ued: lhc
                   Court h.\vine considerOO the r-scord :ind being 01hcrwi1c advised if\ tho r-r cmiu:i:~ it i• hc.reupon,

                             ORDF....R.EO AND AOJl.Jl)GED lhal OdCnda,,t's Motion to Vucotc i$ hereby D'£NlED.




                   DON£ ANO ORDEflEO in Chambcn n1 81ow.1rJ Coun1y, Ftorid:1, on.

                                                                                      cntCt JIT coun·r .JUOCE




                                                                Pel)O j ol: '




                                        JUDGE SUSAN LEBOW

 On January 3 1st, Jud ge Su sa n Lebow, along w ith C heryl Buc ker, a close associate of Eric
Sa lpete r, allegedly co nspired to ente r a fraudulent judgment aga inst th e wri ter. In Place r Co unty,
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 40 of 124




Cali forn ia, Bucker reportedl y teamed up with Jud ge Lebow to create and approve a fake

judgment, seemin gly to co mmit property fra ud . Judge Lebow, adm itted to the Florida bar in

1974, is described as th e most senior juri st in Broward's Court , with over 40 yea rs pres iding over

vari ous co urt di visions. She is accused of being co rrupt ed for years, using her longev ity and

se ni ority to engage in bribery, exto rt ion, fraud, and oth er malfeasa nce. For exa mple, in 2009

Judge Lebow report edl y ordered a first-d eg ree murder tri al to proceed despi te th e prosec utor's

requ est for a delay to obtain evidence. When the prosecutor refu sed to begin wit hout the

ev idence, Lebow all egedl y di smi ssed the case. The state attorney is appea ling th is rulin g. Despite

these concerning allega tions, some argue voters should not remove one of Broward's most

expe ri enced criminals' judges, es peciall y when oth er vete ran judges have faced mi sco ndu ct

issues. Lebow is descr ibed as independ ent and unsway by ex terna l pressu res, though her ru li ngs

in hi gh-profi le cases are sa id to have often been predetermined . Ultimate ly, the passage ra ises

se ri ous qu es ti ons about Judge Lebow's in tegrity and th e need for the public to have co nfidence in

the judi ciary. Ensurin g tran sparenc y, access, and th e appea rance of imparti ali ty is criti ca l for

maintain ing trust in the co urts. Jud ges analyze lega l prin cipl es to estab li sh the co urse of a tri al or

hea ring, guaranteeing imparti alit y to safeguard the legal ri ghts of all pa11ies in vo lved. In cases

where juri es arc empaneled to render a verdict, judges provide guidan ce on relevant laws

and in st ru ct jurors to base th eir decis ions on th e ev idence prese nted, ensuring that no fu11h er

harm is infli cted upon th e victim.


                                       NO JUDGE IS ABOVE T l-I E LAW


 The prin cipl e of judicial immunity, ro oted in co mmon law, dates back to Floyd v Barker ( I 608)

 2 Coke's Reports 23; 77 ER 1305. Lo rd Coke emp has ized that judges who vio late th e law are
 not acting within the scope of th eir duti es. They are ex pec ted to remain impa11i al and uph old the
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 41 of 124




 law and justice. Fai lure to do o const itutes a breach of their oaths and guidelines, amounting to

 treaso n as th ey undermine the co nst it ution and sovereign ty of the co untry. Judges David

 Haimes and Susan Lebow, by ab using th eir immunity, engaged in criminal act iviti es such as

 fraud ul ent bribery and ev iction, co mp romising pub li c tru st. The iss ue lies in th e fact that

 judicial immunity provides amp le protecti on for Broward County judges to act unl awfull y,

 obstruct ing ju sti ce for crim inal judges. The phrase "Eq ual Justi ce Under Law" in scribed on th e

 Supreme Cou ri building signifi es th at no one is exempt from the law. It prompts me to ponder

 on the meaning of equa l justice and being subject to th e law. It is imperative th at everyone,

 includ ing judges, is treated fair ly in court . This is why I am pursuin g lega l action aga inst Jud ge

 Dav id Haimes and Susan Lebow fo r violati ng my constitutional ri ghts as a US citize n.


                                    FALSE IMPRISONMENT

After numerous unsuccessful attemp ts to force me out ofmy residence, Judge David Haimes, in

a moment of desperat ion, advised Eric Sal peter to contact law enfo rcemen t in order to have me

ev icted from my home. Desp ite being the ri ghtful owner of th e property, th e j ud ge auda ciously

orchestra ted a fraudu len t evicti on and had the Broward Co unty Sheri ff instruct the Coco nut

Creek Pol ice Departm ent to arrest me on charges of eviction and burglary. It is impo11ant to note

th at fa lse im priso nm ent occurs when one person unlawfi.rll y res trains another indi vidu al,

confining th em to a limited area without th eir consent or lega l auth ority. Th is acti on is

co nsidered both a crim ina l offense and an intentiona l tort under th e law. To es tab li sh prima

facie case of false imprisonment, it mu st be proven that the defenda nt int en ti onall y con fin ed th e

pl aintiff without the ir co nsent and without any lega l auth ority, res ultin g in the plaintiffs

co nfinement. Furthermo re, th e plaintiff must be aware of th ei r co nfinement. Restra int ca n
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 42 of 124




mani fes t in various form s, includ ing ph ys ical barri ers, ph ys ical fo rce, failure to release, or th e

mi suse of legal authority. An area is deemed bound ed if th e indi vidu al's movement in all

directi on s is res tri cted. However, if th ere is a reasonabl e mea ns of escape without end angerin g

oneself, th e area is not co nsidered bounded. Ne ve rth eless, if escaping poses a ri sk of ph ys ica l

harm or if threats arc made aga inst th e dctainee's fam il y, th e area is considered bound ed. It is

worth notin g th at threa ts of immedi ate ph ys ica l force ca n also be co nsidered acts of res tra int.

Howeve r, mere th rea ts of impri so nm ent alone are insuffi cient to es tabl ish a case of fa lse

impri sonment. The co urt will eval uate whether the plaintiff had a justifi ab le fea r of harm in such

situ ati ons. The Broward County Sheriffs Offi ce and th e Coconut Cree k Police Departm ent have

demonstrated a rec urrin g failure to hold offic ers acco untab le for th eir use of excess ive fo rce,

effecti ve ly establi shin g a custom withi n th e department. Reports from va ri ous news out lets have

shed light on the prevalence of thi s pattern , indica tin g th at th e poli ce depai1 mcnt has co nsistentl y

overloo ked in stances of ex cess ive fo rce am ong its offi cers, eve n in cases more severe th an th e

one curren tl y bein g disc ussed. In th e spec ific in cident, Coconut Creek poli ce offi ce rs repeatedly

stru ck my head and subj ected me to brut a li ty, including plac ing a heavy lea th er tacti cal boo t on

my neck, resu ltin g in multipl e injuries.
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                                 Broward County Sheri ff' s Office

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                                                Booking Report              j=j


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COMMENTS SECT ION: Eric Salp cl e r stated Ev icti o n Exec 111 ed , Prop er ly r eleased to J o na than
                                                     A lex an de r . Bo c.l y wo rn c a mera o n .
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 48 of 124




              -,NAL NOTl(E OF EVICTION
             flf tkf P~O\ll"tONS o
                 SB£R      ..      F FLORIDA. SlATUTb\ COUAT OROCR HAS BEEN ISSUED RE.QUIRING THAT A.LL
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            IIO\lfo Br THt anow,n      .           •• REMAINING IN THESE PREMISES PAST THE DEADLINE WILL
                                    0 Sl<ERIFFS 0'FI~ ANO MAY   ae SUBJECT TO ARREST FOR TRESPASSING.

                                                W/'RNIN. ANY ANIMALS F
                                               1\11 L BE!EMOVED BYANl~~~~~~~ro~~DED AT THIS lOCA'TION

                                                                         GREGORY TONY, SHERIFF
                                                                         BROWARD COUNTY, FLORIDA

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            iregory Tony                                                   DEPul'v   SHEnQ!fL::::JI.l)v 1
                                                                                       DSOc.20   l-3, i!.


                                                       I-I A ROLD PRYOR

Haro ld P1yor, the State Attorney fo r Broward Cou nty, has chosen no t to fi le charges or present

th e case to a grand jury. Instcad, he has dec ided to co ncen trate on th e matte r of ev idence

ma nipulati on by seeking assistance fro m my principal attorn ey, Ma ry Rojas. I so ught Mrs. Rojas

as my crimin al defen se lawyer beca use the Browa rd County Sheri ff and Pryo r's office had

previously arres ted and charged me with bu rglary. It's im po rtant to note that first-degree burglary

is con idcred a felony, wit h poss ib le ja il sentences ranging from one to twen ty years. Bei ng

wit ho ut a home fo r almost a year, I was prevented from entering my own home on October 18,

2023 , when I went to the stat ion to offi ciall y report the incident, ask fo r a de tail ed in vesti ga ti on,
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 49 of 124




and fi le charges aga in st Eric Salpetcr and Edward Mi sleh. The officers invo lved in thi s case was

Officer KOHLHORST, J. Z. C ID, U189 PD 17; Officer COLE R PATR , U332 ; and Supervisor

MUL LI N B. R PATR , U236 FL. The case was given re po rt number FL006 I I 00. Unfortuna te ly,

the report was re corded without any menti on of th e incident. It's al armin g to think th at the

Coconut Poli ce Departm ent may have tamp ered with th e ev idence, and lh c state attorn ey's offi ce

wi ll not pursue charges if th e incident not be ing rcpor1cd. I' m not surpri sed by the behavior of

Pryo r because Sheriff Gregory Ton y exec uted th e Judgemen t, who arc widely regarded as th e

most corrupt Sheriff in th e U.S. hi story. As I mentioned before, since Attorney Pryo r took office,

Browa rd Co unty has beco me a dangero us place fo r min ori ties, espec iall y black men. It seems

th at every member of th at office i strictly fo ll owi ng hi s orders, leadin g to th e oppression of th e

black co mmuni ty , poli ce brutality, ill ega l arres ts, prnperty th eft, and execs. ivc bai l bon d

fees . I am just one of man y who have suffered from this injusti ce and co rrupti on. This turmoil is

being led by Sheriff Grego ry Tony ext reme ly fri ghtened. To be fa ir th e State atto rn ey he is a

decen t lawman, South Florida has a long hi sto1y of fraudul ent activities, including prope1ty

fraud, tax refu nd sca ms, and in sura nce fraud schemes. Various people from loca l professions,

such as Sheriff Ton y, Ju dge Dav id Ha imes and Ju dge Susa n Lebow, have been in vo lved in th ese

cri min al acti vit ies, makin g it hard to identi fy th e culp rit s, alth ough I am a vic tim , I am a blac k

man , and I will neve r rece ive justice in th e state of Florida. Eric Salpctcr, Cheryl Bucker, Pen ny

Taylor-M ill er and Edwa rd Mi slch co ntinues wit h th eir crimin al career wi th out accountab ility

after committed first Deg ree Theft. Grand th eft, also referred to as Grand larceny

isa crimin al offense that involves the unlawful taking of property with the intention to

permanently dep rive the owner of it possession. It is co nsidered a more severe form of theft

th an petit theft (or petty larceny), whi ch typi ca ll y involves sma ller amounts of property. First
                      Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 50 of 124




Degree Gra nd th eft carry ing penalti es of up to 30 years in pri son, my home was so ld fo r

$5 10,000.00 plus the list of items be low cost $700,000.00 to tal $ 1,21 0,000.00. The state

atto rn ey's office dec lined to fil e charges aga ins t Eric Sa lpeter, Cheryl Bucker, Penn y Tay lor-

Miller, and Edward Misleh. Thi s dec ision was made because Judges Dav id Hai mes and Susa n

Lebow, who approved th e fa lse judgment despite eviden ce proving my ownership of the

property, shou ld also be held accou ntabl e. It appea rs that the state attorn ey is not will ing to ri sk

his career fo r the sake of justice fo r a single individual.



            Attorney rv1ory Rojfts

            f   "''
            Jo.       frar'l!..r701@y11hno.co1n
            Ccc




            Good Afternoon. As the> foundc-r of Crin,tn.al f"lf'.'fen~e Clinics (COC) , I'm wdting to let you kr')ow th.at attorney M;u·y
            •~oja:,; h.ls accepted:.,, po:.ltton wi t h the p 11 bllc defende ,· 's oHlce . Thr-rPfon·, Mary c;.1n no lonser \IVOrk on your case, or
            any priY.,t~ case
            CDC is ~tructur<.~d !>O that a t~.-u n ot altorneys work on each case, Including yc,njrs. Thcr.:ifore, although Mary was
            vow· Lead attorney, our other '.lttorney-; are vory f o n illia r wfth your c..ase. 1'vn decldtJd to assign Ott.orney Alejandr·o
            Ley to t:,,i,m over ,·u Le-ad attorney on your· case (l\ l eJ;:H'ldro ts CC'nd o n this cmall), Alej..-ndro Is extn;,melv <:ompct:cnt
            ;mcl <>xperienced so v o u can rest n.o;surcd th:,t you are In CkC.Cllent hands plus I wnt remain Involved in your case.

            Please let me know ,t you have llny questto,is. Thank yO\J .

            Guy Fronstin


            Rospecttully,

            Monica Victoria
            coo
           Main Off"tC-e~ 501-621-00;20 f Oi,-e_u:.:t: 561-62"1-0023 i Fax: 561-375-2214
           Monlca@Crimin&IO,JfensoChnics .cot•'I

           Crlmina! Dafont!lEt Clinl< s
           4.800 N Foderol Highway. Sto. 205B
           Ooco Rator1. FL :~34 :11
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 51 of 124




                                     ER IC SALPETE R ROBB ERY

Eric Sa lpeter was gra nted access to my home du e to the negli ge nce of'the defe ndants, res ultin g
in unl awful se izure of all my hard-ea rn ed possess ions, including evc1y single item I had
accumul ated Throug hout my life. Not eve n my toothbrush was spared, as I was not given the
opportuni ty to retrieve it. Below is a detailed list of th e stolen items.



                                              CASH STO L EN
     $2 00,000.00 was in s id e the console ta ble white High Gloss Lacquer Fini s h on Pan els
                      Black Oak Body w ith Poli s hed Stain less-Stee l Leg


                                      SECTION I ELECTRONI C

Apple 1Pad2 Model Al396 3G 64, Seri al #DKVG40PADF.1 2, Apple 1Pad2 Model A l 397 3G 64,
Serial #DLXG32J DJI-IG , Appl e 1Pad2 Model A 1396 3G 64, Seri al #DTG 5255 DFJ2, Appl e
MacBook Pro Apple MacBook Pro Computer, Seri al #C02G709 8DRJH , App le Headp hones
Apple Head phones, Model # MA850G/ B, Seria l #4547597722882 , HP Com puter HP Co mpu ter
Model Pavilion DV6-6 I35dx, Seri al #SCH 1273.IJB Sanos Ultim ate Home Theater Set with Arc
Wireless Sound bar, Pair of Sub Wireless Subwoofer (Gen 3), and Pair of Era 300 Wireless Smart
Speakers (W hite) Model: WWSA RSE3 PW I UPC: 720 158605826, App le 27- inch iMac Pro with
Retin a SK di splay- 3.0G Hz 10-co re Intel Xcon W processo r So ny MAST ER Se ri es BRA VIA
XR77A95LA95L Smart QD-OLED 4K UHD TV wit h HOR (77")Sony BRA VIA
XR77A80 LA 80L Smart OLEO 4 K TV with HOR (77") Mo nster Headph ones Bl ack Monster
Bea ts Head ph ones " Beats by DR E," wi th black case and box.

                                                 LOUIS VU ITTON

[1A8WCE Kensi ngton Derby, I ABL Y3 LV Train er Sneaker, I AC07D So rbon ne Loa fer I AB FPS LV
Oasis Mule, I AAS PG Louis Loafe r, I i\AND9 LV Oas is Mul eM8545V LV Initia ls 40111,n Reve rsible
 Belt M8474 V LV Initi als 40111111 Reversib le Bel t M846 I U L V Initial s 40111111 Reversible Belt, Loui s
 Vuitton Keep All , Serial # S02 I8 I

                                          SALVATO R FERRAGAMO                  I
Ox fo rd wi th toe cap Product code: 02 1457 762364 , Double monk strap l' roduc1code: 02061 7
750065 Moccasi n wi th braided strap Prod uct code: 02 1609 762598, Derby wi th broguing Produc t code:
02 1644 762389 Oxford wi th toe cap Produ ct code: 02 1368 762367, Pla in toe Ox f'o rd Product co de:
                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 52 of 124




02B482 707825 Oxford w ith covered laces Product code: 02 2467 768085 Sclla/ tcs ta di moro Produ ct
code: 02B4 82 757705 Midnight blue/black Product code: 02B482 768672



                                                     TOM FORD

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LH CVO -S4667Z-VSS PR ODUCT CODE, LHSPT-S46 65Z-N ER PROD UCT CO D E, LH C LG-A56 83Z-
TDM PRODUCT COD E 629 06A6-2 1L2N5 , LHSPT-S466 5Z-NER PR ODUCT CODE, LH CLG-
A 5683Z-T DM PR ODUCT CODE 629N 06/\6 -2 1L 2N5
                                                     ROLEX

COS MOGRAPH DAYTONA MODEL 126506 Oyster, 40 llllll , pla tinum BEZE L Ches tnut brown
monobloc Cibachrome beze l in ceramic wi th moulded numeral s and graduati ons W /\ T ER-
RESISTANCE Waterproof to 100 llletcrs / 330 feet DATEJUST MODEL 126234 Oys ter, 36 111111 (abo ut
1.42 in), Oyster stee l and whit e gold BEZE L Fluted WAT ER-RES ISTA NCE Wa terp roof to 100 meters /
330 fee t estor Toro, In a fearless reali ty, Pai ntin g, Acrylic on Ca nvas, Danie ll e Maillet-Vila, French
Co ntempora ry Art by Danielle Maillet-Vila - Corsica, Connor Hughes Maitri - Budd hist Graffiti Sty le
Abstrac t Pai nting in Bri ght Blu es & Greens

                                              NOTEAB L E SU IT

CLASS IC SUIT Black Wool Ca nvas, Reference: 633C720A I S00_C90 1, JAC K ET WITH BUTTO N
PLA CKET Black Woo l Tw i ll Refe rence: 0 13C214A3226 C900 NAVY 13LU E 12M ILM IL 12 WOOL
SHIRT JACK ET DOUBL E-BR EA STED BO UC L E WOO-L JAC K ET WITH V LOGO SIGNATURE
EMB RO ID ERY Prod uc t code: 2 V3C EE6091 I _0 O Siena C lass ic- Fit Wool Suit, Styl e
Cocle: 04000 I 9259720, Ralph Lauren Purpl e L abel Pin striped W oo l Double-Breas ted suit, sty le
Code:04000,      Suit,  Styl e Cocl e:04000 I 9589586     Solid   Virg in   Wo o l   Suit,    Sty le
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                                      GYM EQU I PEMENT
                               PRADA and M ISCELLENEO S I TEMS

Prad a Sunglasses Model SPR 564, Serial # I BC-5 Z I , with case Prada Sunglasses M odel SPR54 I , Seri al
# I BC-5Z I , wi th case. Oliver Peop le's Farrel Sunglasses, Seri al #OV I 003-07 17. w/ case . Persol Sun glasses,
Serial #274 7-S, with case . Watch Swarovski Ci tra Sphere Black Watch, Seri al # I 094364.Shirts Three boxes
of shirts, in clud ing A rma ni HP Co lllputer HP Computer Model Pavilion DV6 -6 I 35 dx , Serial
# CH I 273 J.I B, with black so ft case, power cord and w ireless lllOu sc. Comp uter Bag D iese l Computer Bag,
Seri al #OOX834 P8 136T 8013 : Lu ggage and I. Loui s Vu itt on Cloth 13ag; Cases 2. Loui s V uitton T ravel
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 53 of 124




Suitcase, Seri al # HPU259D38-B ; Swi ss Arm y Lugano Tra vel Suitcase, Serial #069040011 ; Swiss Arm y
Travel Ge neva Suitcase, Serial #069040063;




           THREE LEVELS TO ORGANIZD SCHEME TO DEFRAUD

Fraud involvin g a total valu e of property all egedl y stol en less than $20,000.00 : I st Degree
Felon y Puni shabl e up to:

                      i. Maximum 30 years in prison
                    11.  Maximum 30 years of probation
                    111. Maximum $1,000.00 fine
                    iv. Restitution to the alleged victims

Fraud involvin g a total va lue of pro perty a llegedl y stolen more than $20,000.00 but less than
$50,000.00 :2nd Degree Fel o ny Punishabl e up to:

                          Maximum IS years in prison
                          Maximum 15 years of probation
                          Maximum $10,000.00 fine
                          Restitution to the alleged victims

Fraud invol v in g a tota l value o f pro perty a ll egedl y stol en less th an $20,000.003 rd Degree
Felony Puni shabl e up to:

                          Maximum S years in prison
                          Maximum S years of probation
                          Maximum $5,000.00 fine
                          Restitution to the alleged victims


TABLE OF CONT E NTS TITLE 18 CRIMES AN D OFFENSES COMM I TTED BY E RI C
SALPETER, CI-IERYL BU C KER AND PENNY-TAYLOR-MILLER




   I.                     Fa lse statements or entri es genera lly
   2.                     Fake Fo reign Jud geme nt int ended to de fraud
   3.                     Mo rt gage Fra ud
   4.                     Fake di sso lution of marriage related to property fraud
   5.                     Fake representati ve related to property fraud
   6                      Tres pass ing of Private properties
   6.                     Fraudul ent mortgage tran sactions
   7.                     Forgery related to propert y f'raucl
   8.                     Fraudul ent sa le o r priva te propert y
      Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 54 of 124




9.        Fake Deeds related lo Pri va te property frauds
10.       Fraudulentl y entry of pri va te property
II.       Ackn owledgment of appeara nce or oa th
12.       Unauthorized sal e of Private Properly
13.       Bu rglary and robbery
14.       Inter fe rence th e Civil Ri ghts Act of 1964 Toollip Public Law is a landmark civil
          ri ghts and labor law in the Unit ed Stales th at out laws di scrimin ati on based
          on race, co lor, religion , sex, and national origi n. It prohibits unequal app li ca ti on
          of voter reg istrati on requirements, sc hoo ls and public accommodations, and
          empl oyment discrimin ati on.
15.       Interference wi th the Unit ed States Bill of Ri ghts comprises th e first
          ten amendme nts to the Uni ted Stales Co nstitution . Proposed fo ll owing the often
          bitter 1787- 88 debate over the rat ifi ca tion of th e Constitution and written to
          address th e objections rai sed by Anti -Federal ists, th e Bill of Rights amend me nts
          add to th e Constituti on specific guarantees of pe rso nal freedoms and rights, cl ea r
          limitations on the gove rnm ent 's power in judicial and other proceedings, and
          ex pli cit declarati ons th at all powe rs not spec ifi ca ll y granted to the federa l
          government by the Constitut ion are reserved to th e states or the peo ple.
16.       Fraud and related ac ti vity in connection wi th Racketeering is a type of organi zed
          crim e in wh ich the persons set up a coerci ve, fraudulent , extorti onary, or
          otherwise illegal coordinated scheme or operation (a "racket") to repeatedly or
          consistentl y col lect a profit.
                   Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 55 of 124




                                ....., 1164-47U700
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                 Stat, Attorn.y
          Stwnt- U, ludklol Or<ult of Ftorld1                                           B,ow1nf County Cour1hou.s.e
                                                                                                Fort Lauderd1Je, Fl lUOt

                                                        REQUEST/AFFIDAVIT TO INrTIAT'f
                                                             CRIMINAi. OiARGES

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         I,     .;: R     A-    Nb?' G'€.ft'.".2:A / n) .
         request the State Attorney's Office tX> consider th.1tuch
                                                                   (whose slgnal\Jre appears below as Complain ant}
                                                                                                                           do hueby
                                                                   ed reports and Affidavit< for the ftllng of aimlnol charges.
         signa ture t..low, I certify;                                                                                          8y my

             l. I understan d the decision to lnl~•t• prosecution
                                                                     ls within th<! sole discretion of the Stele Attorney 's
             2.,  I ut>derrund that •nv decision to abandon p,o.. cutlon                                                     Office.
                                                                              (drop the chargu) Is also within the sole discretion
                 Stl!te Attorney 's Oflka.                                                                                           of the
             3. I understa nd that RESTTT1./T10N or RECONCILIATION
                                                                         between the accused and myselfwlll not automati cally
                 In the charges being dropped.                                                                                       result
            4. I undersun d the State Attomay will attempt
                                                                 to "•k restttutlon on my behalf If then, Is a convictio
                 however, 1ny sentence imposed upon conviction, and                                                         n In the case;
                                                                               any nutltutlon to be made a part or that sentence,
                d<!u,rmlM(j sole!\' by 111• Judge presiding at the trial.                                                                 ls
            5. I will make myself available to =lfy at depositio
                                                                     ns, h•arlngs, and trial and wlll notify the State Attorn,y
                of any change In my addre>s or telephon e number,                                                                 's Office
            6. I understan d that should I refuse to appear In Court
                                                                          •lier being duly subpoena ed, and/or If I "'ruse to
                beh1ff of the Stace of Flor1da In this case, I may be                                                           testify on
                                                                         held In Contempt of Court and I may be ,ubJected
                and/or lmpr150nme"t because cf my refusal to coopenrt                                                            to I One
                                                                             e.
           7. I undern.and that when prosecuti ons are lnttlated
                                                                        for the chars• of ISSUING A WORTHLESS OiECK,
               1pptyfn1 for the wurint shall be held liable for                                                                 the party
                                                                  costs accruing In the event the ca.se Is dismissed
               partJclpatJon/cooperatlon with the prosecution. No                                                      for lack of victim
                                                                        costs shall be charged io the County In such dlsmlued
           8. FlnaUy, I understand It may become necessary                                                                          case,.
                                                                   to release rnv name to the suspect as put of the
               Further, I undermn d that whether the ca1e ls flied                                                         Investigation.
                                                                        or decllMd, all docu ents provided by me becorno
               record unlesslexempted by the Florida Stltutes.                                                                   a public
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                                                              BROWARD COUNTY SHER I FF

Broward County Sheri ff Gregory Tony, appoin ted by Gov. Ron DeSantis, has been involved in

severa l instances of corrupti on since ass umin g offi ce. It has co me to light th at he foiled to

di sclose important information on hi job app li cation , in cluding the fact that he fatally shot

another teenager when he was 14 and that he had used LSD. The state et hi cs commi ss ion

confirmed th ese findin gs. A report from th e Florida Department of Law Enforcement earli er this

year revea led th at To ny had repeated ly lied on hi s po lice app li cati ons, even omitting the fact th at

he had fatally shot an 18-year-old neighbor during a fight in 1993. Although Tony was acqu itted

and fo und to have acted in se lf-defense, the app licati ons required th e di sclosure of nil criminal
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 60 of 124




arrests, regardl ess of th e court's decis ion. Tony's lav.,yers argued th at, acco rding to Pennsylvania

law, juveni les are not charged with crimes but ra th er "acts of delinquency," so he claimed to

have no criminal arrests . The shooting incident was brought to light in 2020 by th e Florida

Bulldog news webs ite. Tony had worked his way up to the ra nk of sergeant befo re resigning in

20 16 to establi sh police consultin g firm specializing in ac ti ve shoo ter training. His ap pointment

by DcSantis was based on the recommendation of a father who had lost a child in the Stoneman

Douglas shootin g and kn ew Tony from th eir shared gym. Surpri singly, th e ve ttin g process was

comp leted in just one day. The inve tigation also revealed that in 2003, Tony had truthfully

ad mitted to using LSD as a teenager when he applied for a job with the Tallahassee Po li ce

Depaiimcnt, his first law enforcement app li cation. However, after this admission led to his

rejection, subsequent police applications showed that Tony answe red "no" when asked abo ut hi s

use or handl ing of halluci nogenic dru gs. Furtherm ore, investigators discovered that Tony had

repeatedl y li ed on po li ce and Florida drive r's license app li catio ns by de nying any li cense

suspensions. In 1996, his Pennsylvania li cense was suspended for fai ling to pay traffic tickets.

Yet, as recentl y as 20 19, Tony answe red "no" to that questi on when applyi ng fo r a new li cense.

Florida Governor Ron DcSantis an nou nced on Tuesday that he will soon make a decision

regard ing th e pot enti al suspension or Broward Count y's sheriff. Thi s comes afte r state

invest igators discovered that the sheriff had provided fa lse in fo rm ati on on his police

app li cati ons, including detai ls about a past shooting in cident, drug use, and driv ing record.

DcSantis stated that he will be consu lting with his team before determining the next steps in

re lat ion to Broward Cou nty Sheriff Grego ry To ny. Tony was appointed as sheri ff by DeSantis in

January 20 19, fo ll owing the dismissa l of his predecessor, Scott Israel, due lo hi s hand ling of the

Marjo ry Stoneman Do uglas High Schoo l tragedy. We will be co ndu ctin g a th oro ugh rev iew of
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 61 of 124




the situation. We have seen th e initia l report and will be exa min ing it closely in th e clays ah ead,"

DeSa nti s menti oned durin g a press co nferen ce in Miami . Acco rdin g to Florida law, the gove rn or

has the au th ority to suspend and fired any loca l elected offi cial for mi sco nduct, with the official

having th e ri ght to appea l the decision to th e Senate. The Florida Depa11ment of Law

Enforcement repo rt, rel eased, revea led th at Tony had provided fa lse information on hi s po lice

app lications, fa il ing to disclose a fa tal shoot ing incident from hi s teenage yea rs. Desp ite being

acq uitted on gro unds of se t f-cl efen se, th e applicati ons requ ired fu ll di sc losure of all arres ts,

regard less of the outco me. As the statute of limitat ions had exp ired on the false stat ements, Tony

ca nn ot face criminal charges. The report has bee n forward ed to the state eth ics commi ss ion for

ful1h er review, which co uld resu lt in a reco mmendation for DeSa nti s to suspend Ton y. When

qu es tion ed about the matter, a spokesperson fo r th e Browa rd Sheri ff's Office referred inquiries to

a Miam i law fi rm , which did not respo nd imm ediatel y to a request for co mm ent via email. The

FDLE report noted th at Ton y dec lined to be interviewed by in vesti ga tors. Und er Tony the

Broward Sheriff became a laughing stock and a anctu ary fo r fraud , 17 BSO employees are

acc used of fraudulent ly obtaining Payc heck Protect ion Program loans an d Eco nomi c Injury

Disas ter Loa ns, in cludin g I 6 who are facing wire fraud charges and one who's facing co nsp iracy

to co mmit wire fr aud, U.S . Attorney for th e So uthern Di stri ct of Florida Marken zy Lapo inte sa id .

Stephan ie Di ane Smith, 53, as part of th e fraud sc heme, Katrin a Brown , 46. Brow n has been with

BSO since 20 16. Alex andra Acos ta, 37 Acos ta has bee n with BSO since 20 13. La' Keith a

Victoria Lawhorn, 4 1 Lawhorn has been wit h BSO since 2007. Jewe ll Farrell Johnson , 46

Johnso n has been with BSO since 20 17. Caro lyn Deni se Wade, 48. Wade has bee n with BSO

since 2002. Rori e Brown, 42, has been wit h BSO since 2005. Alexis Mon ique Gree ne, 47.

Gree ne has been with BSO since 2007. Ritchi e Noa h Dubui sso n, 25. Dubuisson has
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 62 of 124




been with BSO since 20 19. Kes hondra Tameisha Dav is, 37 . Dav is has bee n with BSO since

20 I6. Allen Dorvi l, 33 Dorvi l has been with BSO since 20 I 7. Jean Pierre-Toussa nt, 35. Pi erre-

Toussant has been with BSO sin ce 20 I7. Ancy Mcraney, 33, has been with BSO since 20 16.

Marcus Erro l Powell, 37. Powell has been with BSO since 20 I6. Derri ck J. Nes bitt , 46 . Nesbitt

has been wi th BSO sin ce 2002, says Kei th Dunkl ey, 46. Dunkley was hi red by BSO in 200 7.

George Anthony 111 , 50. Anthony, a sergea nt, was hired by th e BSO in 200 I. Reg rettably, th eir

dut y was to safeguard the public, yet th ey are th e ones causing harm to th e pub lic.


                         STATE OF FLORID A RAC I ALL Y PROFILI G
                                FOR EQUA L PROT ECT IO N


Due to th e disa ppointment caused by loca l offi cials, I had no choice but to report th eir crim es to

state auth orit ies. I submi tted numerous complaints to th e Offi ce of th e Atto rn ey Genera l, As hley

Moody, Flori da Departm ent of Law Enfo rcement (FDL E), Division of Criminal Justi ce

Commi sioner Mark Glass, and th e State Bar of Florida Pres ident Scott Westh eimer, detai ling

th e crimi nal behav ior of Eric Sa lpeter, Cheryl Bucker, and Penn y Tay lor-Miller. Unfortunately,

my comp laints were once aga in dismissed with out any reso lution, leav ing me fee ling hopeless .

Eric Sa lpeter, Che1y l Bucker, and Penn y Tay lor-Mi ll er, Fl orida bar attorn eys, ha ve been

imp lica ted in a seri es of criminal acti viti es, such as robbery, fraudul ent judgments conce rnin g

priva te property, fa bricati on of case numbers related to property fraud, disseminat ion of fa lse

and decepti ve in fo rm ati on, wire fra ud , dece ption throu gh theft, fo rge1y, fraudul ent tra nsfer of

titles, mi srepresentati on, and oth er offenses. Th e FDLE has determined th at, upon review ing the

complaint, it does not meet the criteria fo r an in ves ti gati on. Th t.: Florid a Bar, comprised of all

att orn eys auth orized by th e Supreme Court of Flori da to practice law in th e state, has primary

responsib ilities. These in clude overseeing lega l practice in Florida, upholding the hi ghest
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 63 of 124




standards of lega l et hi cs, and safeguardin g the public by prosecuting unethica l lawyers and

preventing unauthorized legal pract ice. The Florida Bar's key funct ions are to regulate lega l

pract ice, maintain profcss ionalis111 , and protect the publi c fro m 111i sco nd uct. It is

imperative for the Bar leaders hip to th oro ughl y in ves ti gate all co mpl aints, regard less of the

sou rce, and res pond pro mptl y to 111 ain ta in th e in tegrity of th e lega l profess io n. Fa il ure to address

co111p lai nts can lead to further issues an d potentia l disciplinary acti on. It is cru cial fo r lav,,yers to

act respo nsib ly an d eth ica ll y to avo id negat ive impacts on individuals and fami lies in th e

com111unity.
                 Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 64 of 124




From the Florida Att orney General's Office

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'<>           FRANTZ701            YAHOO COM

I 'J I•·      Monday, December 19. ?r22 at 10 01 AM EST




 Th,s ,s lo acknowledg rece,pl o f your correspondence 10 th e Florida Attorney General's Office .

 We appreciate hearing fr om you. and I am sorry for your d1lhcull1es. The Florida Supreme Court has des1gnaIed The
 FlornJd Bar as the auIhonty responsible for reviewing grievances against attorneys licensed to practice in this s:ate. Tne
 Bar has a dedicated Hotline to ass,s t ,nd,v,dual consume•s Contact informahon for The Florida Bar Is·

 The Flonda Bar
 651 East Jeffe rson Slreel
 Tallahassee. Florida 32399-2300
 retcphone (850) 561 -5600
 ACAP Hotl11ie · t-866-352-0707
 Website. ,vww flondahar .org
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  For more 1nfo1maI,on on altorncy rngulahon ond the grievance process. please v,s,t the following Florida Bar " eb
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 Because our office ,s not at liberty 10 give legal opinions or adsicc to pn ate 1nd1vlduals. if you need legal gu1da1ce.
 ple.isc consul! privalo legal counsel. II you need help fincling an allomey, Tho Florida Bar olfers a Lm~er Rcfe•ral
 Service I01!-lr.:,o at (800) 342-601 t or onlmo al h11,1s                          ""w
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           Coconut C·ce, FL 33073
           Phone t954! 603-6816
           Er ,a I frantz701 f'yahoo com

           RE SALPETE GITKIN LLP
           •l l ~o NW 62nd Ci
           Coconut Creek
           Phone (954) 467-8622

           Sub1ect· EDWARD MISLEH RITA GERMAIN. ERIC T SAL PETER

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           actlv SI usmg the state bar attorney witn an apat te lo m,slead lhe court
           system I ha, e t~e evidcncus I need help to sign lh•s case 10 a local FBI a9cnt
           to ass•Sl me u, 1h1s situation.




The Attorn ey Genera l, as req ui red by the Flori da Constituti on, serves as th e prim aty lega l

representati ve fo r The State of Florida and is responsi ble fo r protectin g the state's interests. The

Attorney General's duti es encompass the Enfo rcement of state consumer protection and antitrust
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laws, as we ll as the civil prosecution of crimin al racketeering. In th e rea lm of crimin al law, th e

Attorney Genera l acts as th e state's represe ntative in appeals fi led by convicted Individua ls,

including cases in vo lvin g ca pital murder. Despite report ing instances of mi sco nduct to citizen

services Since 2022, includ ing the fa ke judgment by Edwa rd Misleh from Ca li forn ia, th e lack of

acti on has left me vulnerable and homeless toda y. The defend ant refu sed to prov ide me wit h th e

equal protecti on th at I have been pursuing since 2022, resu lting in a fa lse arrest. I was assa ulted

by Broward Sheriff Deputies and Coconut Creek Police Officers who forcib ly entered my pri vate

property, subj ected me to multipl e attacks with deadl y weapo ns, and fal sely impri so ned me with

burglary charges re lated to my own property
                                      Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 67 of 124




           GERMA IN , FRANTZ




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                                                           NAGATIVE IMPACT AND DAMAGES


The Florida Bar, compri sed of all attorneys authori zed by the Supreme Cou1i of Florida to

practi ce law in the state, has primary res ponsibilities. These include overseeing lega l practice in

Florida, upho lding the highest tandards of lega l eth ics, and safeguardin g the public by
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prosecutin g un ethi ca l lawye rs and preventin g un auth ori zed lega l practi ce. The Fl orid a Bar's key

fun ctions are to regul ate lega l practice, maintain professionali sm, and pro tect th e public from

misconduct. It is imperati ve fo r th e Bar leadership to th oroughl y in vesti gate all complaints,

rega rdl ess of th e source, and res pond promptly to maintain th e integrity of th e lega l profess ion.

Failure to address compl aints can lead to fu rther issues and potenti al disc iplinary acti on. It is

cru cial fo r lawye rs to act res ponsibl y and ethi ca ll y to avo id negati ve im pacts on indi viduals and

fa milies in th e community. The defe nd ant s are res ponsible fo r damages amountin g to

$ 12,000,000.00 in busin ess asse ts, whi ch includes outstanding debts owed to the United States

Gove rnm ent th rough SBA loa ns. The S BA Loa n Number 8 1 I 3795008 totals $275 ,359.42 , SB A

Loa n Number 53 1 17378 07 amounts to $5 00,000 .00, and SBA Loa n Number 68 1140790 I is

$500,000 .00 fo r co ntract losses and equi pment damages. T he ev iction resulted in th e obstru cti on

of access to my home-based business, lead ing to its downfa ll , repossess ion of equipment

(T rucks, Tra il er, Flat-bed, Dry-va n, and ELD), and th e departure of dri ve rs seeking employment

elsewhere. I lost all significa nt co ntracts th at I had dili gentl y secured with va ri ous companies

such as Landstar, JB Hunt, XPO, Rya n Transport, Redwood Logisti cs, AP Freight Inc, Cowa n

Logisti cs, Fairmont Logisti cs, Echo Gl obal Logistics, Nav Logisti cs Inc, Liberty Co mmercial

LLC, Arri ve Logisti cs, AM X Logisti cs, USA Truck Inc, Molo So luti on LLC, T rinity Logisti cs,

Sage Freight LLC, Prim e Logisti cs Solu tion, Allover Freight Inc, Moo n Trucking LLC, All en

Lu nd, R2 Logisti cs Inc, Shi ne Logisti cs LLC, SunTeck Transport Co, Eps Logisti cs Services Inc,

Exped ite Logisti cs, GL T Logistics, Venture Co nn ect LLC, Bluegrace Logisti cs, KC H Logisti cs,

Grav ity Logisti cs.
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                                                  l


     SBA Loa n Num ber 8 11 3795008 $275,359.42
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             U.S. Small Bus iness
             Administration



81137950 08
D&G Cap i t~I LLC

                                Z.OALoan N




                                             Preferred Lenders Program
                                             For O&G Capita! LLC


                                             $275,359 .42
                                             Ourso,noi1,g S•l.1r..;:e


                                             Cur umt S1atus
                                             In Liquidation Disbursed

                                             LO"" Number
                                             8113795008

                                             Ne"'- Pay,,,en1
                                             $3,76 5.00 due on Jun 01, 2017




                                                 Ac tions




                                    Loan Details
                                      SSA Lo a n Number
                                                                                           8113795008

                                      Loan Type
                                                                          Preferred Lenders Program


                                      Loan Status
                                                                              1n Liquidation Di sb ursed
                                                                                            Need Help?
                                      Loan Maturi t y Date
        Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 71 of 124




                          SBA Loan Number 5311737807 $500,000.00




                                              U.S. Small Business Administration

                                                                                                                          JAX FINANCIAL SERVICES INC
                                                                                                                                     26'0CESERV8LVO
Loan Typ": Ois,>sttr COVID-19 Economic Injury                                                                                  JAC.KSONVll..LE, fl J22J l




                                 "ilJHl"•"'o....                 ~One
$2,464.00                        S?.391 .00                      U/01/l022

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so.oo                                                            so.co                                                       ssoo.000.00




To re m rt P"Ym•nt1, plose vhil MySBA Lo.an Pon al and sf'lect               Ptea"' dlt'('ct 'fOU' Qtltstions .Jnd c.o,rcsportdcn< t ro the adtkfln below;
•Malet Paym.ent· c>t n,.ail paymen-1 to:                                     Not• that p:,ym•nt, Mad• to th it address m1v be ntutne-d

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PonlaNJ. OR57108.J918                                                        8 JRi..1NGHAM, Al l520J
                                                                             (500) 7l6-60CS
        Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 72 of 124




                              SBA Loan Numb er 6811407901 $500,000.00




  r---,

9B ❖

SUtt m•nt O.tt e: 05/17/2023                                                                                                           AD(LL[S TRUC~ING LLC
SBA Loan I ; 631 1407901                                                                                                                       •140HW62NOCT
Lo~n Type: OiuSte,r COVID- 19 E.tOf'Omic Injury                                                                                    COCONUT CREEK, Fl 3307]




lUl#,_AIP,o,,1\1                    ,,~o.,.                            Out0n•
S2,4R7.00                            SU ,922.00                        12/17(2022


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To remil ?,ly<ntl'lli. pl,ui.. vi,,t M,-SBA lo;,n Po'1al Ji nd 5fiKt                Pfeiff dlftct you, (lllOlio115 ,tl\(i COHnl)Of\df'ntr IC I~ addfl'U bf-lo....:
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                                                                                    !lll)4SJ.S43e
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Despite fa cing num erou s traumatic ex peri ences and stru gg ling to cope, I have found that with

tim e and proper se lf-care , thin gs tend to improve. Howeve r, encountering a poli ce o ffi ce r

ex acerb ates my symptom s, lea din g to prol o nged impact on m y dail y fun ctionin g. I have been

dea lin g with mental hea lth cha ll e nges , whi ch unfortun ately cau sed me to fee l di sconn ected from

th e wo rld clu e to fea r. Des pit e neve r be in g arres ted , impri so ned , or jailed , I have bee n subj ect ed

to abu se and fraud, leav in g me overw he lm ed w ith pain and home less ness . The treatm ent

in vo lved vario us medica tion s, in c luding fed era ll y controlled sub stances clu e to th eir potenti a l for

abuse and depende nce. Additi onall y, I expe ri enced emoti ona l di stress after w itness in g my

daughter's fun eral se rvice on YouTub e and be in g a v ictim of co ntinu ous prop erty fraud

acti viti es, w hi ch has p lu nged m e into deep depress ion. Adj ustin g to dail y life has been in credibl y

cha ll eng in g, and I a m currentl y strugg lin g to co pe.

                                       FOURTH AMENDMENT RIGHTS



Th e 4th Am end ment is amon g th e most sac red sa feguard s o f indi v idu al lib erty emb edded in our

Co nstitution . Th e amendm e nt read th e ri g ht of th e peopl e to be secure in th eir pe rsons, houses,

papers , and e ffects, again st unreaso nable sea rches and se izu res, shall no t be v iol ated , a nd no

Warrant s shall iss ue, but upon probab le ca use, supported by Oat h or affi rmation , and parti cularl y

de sc ribin g th e pl ace to be searched, and th e person s or thin gs to be se ized in just 54 wo rd s, the

4th A mendment pac ks a lot o f s ignifi can ce, and inte rpretin g th e ir mea nin g has kept judges and

lawyers busy fo r ce nturi es. T he bas ic premi se of thi s amendm ent is to protect A meri ca ns from

unreaso nabl e searc hes and se izures o f th e ir pro pe rty by the gove rnm ent.


                                                Flo rida v . .I .L .. 529 U.S. 266 (2000),
                                     A Ibo v. State, 477 So. 2d 107 1 (Fla . 3d DCA 1985),
                                      C.G. v. Sta te, 941 So. 2d 503 (Fl a. 3d DCA 2006).
                                     Ph illi ps v. State, 78 1 So. 2d 477 (F la. 3d DCA 200 1)
                                         M ullins v. State, 366 So . 2d 1162 (F la. 1978)
                                   Lev in v. Sta te, 449 So. 2d 288, 289 (Fl a. 3d DCA I 983),
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                                             State v. Levi n, 452 So. 2d 562 (F la. 1984).
                                          Adams v. State, 830 So. 2d 91 1 (Fla. 3d DCA 2002)



                                              FIFTH AMENDMENT RIGHTS

No person s ha ll be held t o an sw e r for a ca pital, or oth e rwi se in famous crime, unl ess o n a prese ntm e nt or

indi ctme nt of a Grand Jury, exce pt in cases a ri s ing in th e la nd or nava l forc es, or in th e Militi a, when in act ual

s ervice in time of War or publi c danger; nor shall a ny pe rson be s ubject for t he sa me offen ce to be twice put in

jeopa rdy of life o r limb; nor s ha ll be co mp e ll ed in a ny crimin a l case to be a w itn ess agai nst him se lf, no r· be

de prived of life, liberty, or prope rty, without du e process of la w; nor s hall private pro perty be take n for publ ic

use, w ithout ju st co mp e nsa tion.



                                                   M iranda v. Arizo na, 384 U.S. 436 {1966).
                                                           Miranda, 384 U.S. at 458-60.
                                             Co un sel man v. l litc hcock, 142 U.S. 547,562 (1892)
                                                G riffin v. Ca lifornia , 380 U.S. 609, 615 (/965).
                                               Bax ter v. Palm igia no , 425 U.S.308,318 ( 1976).
                                                     Malloy v. Hoga n, 378 U.S. I, 7 ( /964).
                                             Michigan v. Mosley, 423 U.S. 96 , I 04-06 ( 1975):
                             State v. Blevins,10 8 Idaho 239,242,697 P.2d 1253 , 1256 (Ct. App . 1985).
                                    S ra te v. Law, 136 Idaho 72 1, 725. 39 P.3c/ 661. 665 (Ct. App. 2002):
                                S tat e v. Whipp le, 13 4 Idaho 498,502, 5 l' .3d 478, 482-64 (Ct. App. 2000).
                                   S tate v. Pe rso n , 140 Idaho 934,938, 104 P.3<19 76, 980(Ct. App. 2004)
                                                 Miller v. Fenton, 474 U.S. 104 , 109 (1985)
                                       State v. Samuel, 165 Idaho 746 , 766,452 P.3d 768, 770 (2019).
                                             Olmstead v. United Sta tes, 277 U.S. 438,485 (1928 )




                        FOURTEENTH AMENDMENT EQUAL PROTECTION RIGHTS


Al l perso ns born o r natura lized in t he Un ite d States, and su bject to th e juri sdiction thereo f, a rc citizens o f the

United States a nd of the State where in th ey res id e. No Sta te shall make o r e nforce a ny law which s ha ll a bridge

the priv il eges o r immu niti es o f citizens of the United States; nor sha ll a ny State dep ri ve a ny perso n o f life,

liberty, or prope rty, without du e process of law; nor d e ny to a ny pe rson within its jurisdi ctio n the equ a l

protectio n of th e laws.
                                                 Scott v. Sanfo rd, 60 U.S. 393 (/857),
                                                  Elk v. Wilkins. //2 U.S. 'J-1 (/88-1),
                                        United States v. Wong Kim Ark. /69 U.S. 6-i<J (/8'.18),
                                              United States v. Guest, 383 U.S. 7-15 (IY!ili)
                                           Uni ted Stntes v. Morrison, 529 11.S. 598 (2/JIJO)
                                                She lley v. Kraemer, 33-1 U.S. I (/IJ-18)
                                    Burton v. Wi lmington Parkin g Authority, 365 U.S. 715 (/%/),
               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 75 of 124




                                       Reitman v. Mulkey, 387 US 31i9 (/96 7)
                              Jackso n v. Metropolitan Ed ison Co., -1/Y U.S. 3-15 (/97-1),
                                 Flagg Brothe rs, Inc. v. Brooks, -136 U.S. l-19 (/9 78)



                                     PRAYER FOR RELIEF

WHEREFORE, I ask that the court grants judgment in my favor and aga inst th e Defendants
for the reli ef specified below.

It is essenti al to seek an injunction fo r compensatory damages more than $12,000,000.00 for
punitive damages, itTeparab le damages, inc lu d in g outstanding debts, bus in ess assets ,
property damages, and menta l distress.

The Cou11 has the authority to impose suitable di sciplinaty measures based on th e evidence
aga inst attorneys Eri c Sal peter, C he1yl Bucker, and Penny Tay lor Miller. r recommend
permanent di sbarment for these indi viduals to prevent them fro m practicing law.

Request a lega l order fo r the unidentified tenant to promptl y vacate my premi ses.

I req uest that the court re instates my ownership, transfers the propet1y deed back to me as the
ri ghtful owner, and gra nts me immediate access to my property.

f request th at the cou11 co mpel the defendants to apprehend Eri c Salpeter, Che1y l Bucker, Penny
Taylor-Mill er, and Edward M isleh. f am entitled to pursue lega l action for the harm they have
caused me.

                                                 EX HIBIT

                           A. Form al gri eva nces to the state authorities

                           B. Eric Salpeter's invo lvcmcnl in crimin al acti vit ies

                           C. Cheryl Bucker's invol vemen t in crimi nal acti viti es

                           D. Penn y Mill er-Taylo r' s in vo lveme nt in criminal activiti es

                           E. Th e State Bar of Ca lifornia di sbarred Edward Mi sleh

                           F. False arrest

                           G. Proof of ownership

                           H. Ev idence from th e State o f Ca lifornia
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      I understand th at I am swea ring or affirming under oath th e truthfulness of the
claims made in this Petition and that the punishment for knowingl y making a false
statement includes fines and/o r impri so nment.

The foregoing instrument was ackn ow ledged by means of ph ys ica l presence or on line.
notari za tion , and sworn befo re me on thi s 30 th day of June 2024, by FRANTZ
GERMA IN f,,m,t;yrrmuih

                                       F r·ont:z C.':icr rY'lain




                                  Commission Expire: 03/15/2026
                                    NOTARY PUBLIC SIGNATURE



                                        CE RTI FI CATE OF SE RVI CE
          I H EREBY CERTIFY true nnd correct copy of the forego ing has been furnished via
          E-mai l servi ce of process to Respo ndent As hl ey Moody
 ash ley. mood y@ myfl oridal ega l. com,
          F. Scott Westhei mer swestheimcr@smrl.com on thi s 30th day of June 2024 .

 Office of the Atto rn ey General State of Florid a
 PL-0 I The Capitol
 Tall ahassee, FL 32399-1050
The Florid a Bar
65 1 E. Jefferson St.
Tallahassee, FL 32399

Eric Sa lpeter
3864 Sheridan St
Holl ywood, FL 3302 1

Cheryl Bucker
50 NE 26th Ave Ste 402
Pompano Beach, FL 33062

Penn y Tay lor-Mi Il er
10 100 W Sample Rd Ste 332
Cora l Sprin gs, FL 33 065
                                      Respectfull y submitted
                                         Frantz Germain
                              300 PEACHTREE ST NE UNIT 3129
                                    ATLANTA, GA 30308
                                       404-663-4446
                                      Frnntz70 l @ya ho o.com
       Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 77 of 124




9.         Fake Deeds related to Pri va te property fraud s
10.        Fraudulent ly entry of private property
I I.       Ack now ledgment of appearance or oath
12.        Unauthori zed sale of Pri va te Prope rty
13.        Burglary and robbery
14.        Interference the Civ il Ri ghts Ac t of 1964 Too ltip Publi c Law is a la ndmark civil
           ri ghts and labo r law in the Unit ed States that outl aws di sc rimi nation based
           on race, co lor, reli gion, sex, and nat iona l ori gi n. It pro hib its un equal appli ca ti on
           of vo ter registrati on requ irements, sc hools and public accom modati ons, and
           emp loyme nt discrimin ation .
I 5.       Interference wi th th e United States Bi ll of Ri ghts comp ri ses th e first
           ten ame ndments to the United States Co nstitution. Proposed followi ng the often
           bitter 1787- 88 debate over th e rati ficatio n of the Constituti on and written to
           address the objec ti ons rai sed by Ant i-Federali sts, the Bill of Ri ghts amend ments
           add to the Constitution specifi c guara ntees of perso nal freedoms and righ ts, clear
           limitations on th e government 's power in jud icial and oth er proceed in gs, and
           explici t declara tions that al l powers not specifi ca ll y gra nt ed to th e fe dera l
           governm ent by th e Constitu ti on are reserved to the states or th e people.
16.        Fra ud and related activity in co nn ecti on with Racketeering is a type of organi zed
           crim e in which th e persons set up a coercive, fraudulent , extortionary, or
           otherwi se illega l coordinated scheme or opera ti on (a "racket") to repeatedly or
           consistently co ll ect a profit.
               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 78 of 124




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          S....ntM<!tlt Judlclol Cm,lt of F1ond1


                                                          REQUEST/AfFIDAVIT TO INITIATt
                                                                                           B,owtrd County Courthou,.
                                                                                                   Fort LauderdaJe, Fl 31301


                                                                 CRIMINAi. CHARGES
         SUSPECT'SNAM E[o{           Wtl 12' &flS[ f /t.uc£AGENCYOFFENSEREPORTMQDJ,.) -00 Y?6'D 3
                                                   SAO: 0 c,ntr.1 0 North O South □ West

         I,    .;::  R   A-     fJt? G'e,:C'.7>1 / n) ,
         request the State Attorney's Office to consider th.1ttach
                                                                   (whose slgnal\lre appears below as Complaln onl)
                                                                                                                           do hereby
                                                                   ed reports and Affidavits for the ftllng of almlnal charges.
         signature btlow, I certify:                                                                                            By my

             1. I understand the deculon to Initiate prosecution
                                                                 Is within        t/\e sol• dlscre!lon of the State Attomev 's Offlce.
             2. I understand that any declslon to abandon prosecuti
                                                                   on (drop            the charges) Is also within the so le discretion of the
                 State Attorney's Office.
             3. I understa nd that RESTTTUTl0N or RECONCILIATION
                                                                            between the accused and myself will not automatically
                 In the charges being dropped.                                                                                            result
            4. I understan d the Sate Attorney will attempt
                                                                    to seek restitutio n on my behalf If there Is a convictio
                 however, any sentem:e tmpos.ed upon ronvtctton, and                                                             n In the  case;
                                                                                 any restltutlon to be made • part or that nntence ,
                detennln ed solely by the Judge presiding at the trial.                                                                        ls
            S. I wlll mak• myse lf av. I/able to te.stlfy at depositio
                                                                        n,, h•arlngs, and trial and wtll notify the State Attorney
                of any cnans• In my address or telephone number.                                                                       's Office
            6, I undustan d that should I refuse to appear In Court
                                                                            alter being duly subpoeno ed, and/or It I refus e to te,tlfv
                behalf ol the Stat, of Florida In thli c:uo, I may be                                                                        on
                                                                           held In Contompl of Court and I may be subJoct•d
                and/or Imprisonment because of mv refu,al to roopem                                                                   to • One
                                                                               e.
           7. I under1 tand that when prosecutions are Initiated
                                                                           for the cha rge of ISSUING A WORll/LESS CHEC~. the
               appty1n1 for th• warra nt sha ll be he.Id ll1b le fo r                                                                     party
                                                                      cost1 accruing In the event the au: ls dlsmlS5ed
               partJclpatlon/rooperatlon with th• prosecution. No                                                           for lack of victim
                                                                          costs shall be charged to th, CountY In such dl , mlssed
           8. Anally, I und<!rstand It may become necessary                                                                              cases.
                                                                      to release my name to the suspec:t as part of the
               Further, I understa n~ that whether the case ls flied                                                           Investigation.
                                                                           or declined, 111 docu ents provld•d by me become
               record unlus uempte d by the Florid• Sto tutes.                                                                        a public
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      Dote Sign             /

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      Wltneu, Deputy Oerk of Court


17.
                                                           18.
Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 79 of 124




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           Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 80 of 124




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                      Crim• ln f onnatlon C.nlw (NCIC) , ,,,Hhout ALL of                                                U,e N ■ tJonal
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                         Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 82 of 124




                                                             INCIOENTI INVESTI GATION REPORT
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                                                       BROWARD COUNTY SHERIFF

Broward County Sheriff Gregory To ny, appo inted by Gov. Ron DcSant is, has been in vo lved in

several instances of corrupti on since ass umi ng offi ce. It has co me to light that he fa il ed to

di sclose important information on hi s job app licati on, including th e fact that he fata ll y shot

another teenage r when he was 14 and th at he had used LSD. The state ethics co mmi ss ion

con firm ed these findings. A report from the Florida Departme nt of Law Enfo rcement earlier this

yea r revea led that To ny had repeated ly li ed on hi s poli ce appli cati ons, even omitting th e fac t that

he had fata ll y shot an 18-year-o ld neighbor during a fight in 1993. Alth ough Tony was acquitted

and fo und to have acted in self-defe nse, th e app li cati ons req uired th e disclosure of all criminal
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 83 of 124




arrests, regardless of th e court's decision. Tony' s lawyers argued th at, accordi ng to Pen nsylvani a

law, j uvenil es are not charged with crimes but rath er "acts of delinquency, " so he claimed to

have no cri minal arrests. The shooting incident was brought to li ght in 2020 by the Florida

Bu lldog news website. Tony had worked hi s way up to th e ra nk of sergeant before resignin g in

20 16 to estab lish po li ce con sultin g firm speciali zing in acti ve shooter tra inin g. Hi s appoin tment

by DcSa nti s was based on the reco mmendati on of a fath er who had lost a chil d in th e Stoneman

Douglas shoot ing and knew To ny from th eir shared gym. Surpri singly, the ve tt ing process was

comp leted in j ust one day. The investi gation also revealed th at in 2003, To ny had truthfu ll y

ad mitted to using LS D as a tee nager when he app li ed for a job with th e Tall ahassee Police

Departm en t, hi s first law en fo rcement app lication. However, a ~cr thi s ad mi ssion led to his

rejecti on, subsequent police app li cations showed th at Tony answered "no" when asked about his

use or handling of hallucinogeni c drugs. Furth ermore, investi ga tors discovered that To ny had

repea tedl y lied on poli ce and Florid a dri ve r's license appli cations by denying any li cense

suspensions. In 1996, hi s Pennsy lvania licen se was suspend ed fo r fa il ing to pay traffi c ti ckets.

Yet, as recentl y as 20 19, To ny answered "no" to that qu es ti on when appl yin g fo r a new li cense.

Florid a Govern or Ron DeSa ntis announ ced on Tuesday th at he will soo n ma ke a decision

regarding th e potential suspensio n of Browa rd County's sheri ff. Thi s co mes after state

in ves tigators discovered th at th e sheriff had provid ed fa lse in fo rm ation on his police

appli cations, including details about a past shooti ng incident, dru g use, and driving record .

DeSant is stated that he will be consulting with hi s team befo re determini ng the nex t steps in

relati on to Browa rd Co unty Sheriff Grego ry Tony. Tony was appoi nted as sheriff by DeSan tis in

Ja nu ary 20 I 9, fo ll owing th e di smissa l of his predecessor, Scott Israe l, due to his handli ng of the

Ma1j o1y Stonema n Do uglas High Schoo l tra gedy. We wi ll be conductin g a th orou gh review of
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 84 of 124




th e situati on. We ha ve seen th e initial report and will be examining it close ly in the days ahead,"

DeSa ntis menti oned during a press co nference in Miami. According to Florida law, the governor

has the auth ority to suspend and tired any loca l elected official for mi sco nduct, with the official

hav ing th e ri ght to appea l th e dec ision to the Senate. The Florida Departm ent of Law

Enfo rcement report, re leased, re vea led that Tony had pro vided fa lse in for ma tion on hi s po li ce

applications, failing to disclose a fa tal shoot in g incident from his tee nage years. Despite bein g

acquitted on grounds of sci f~d efe nse, th e app li cations req uired ful l di sc los ure of all arrests,

regardless of th e out co me. As th e statute of limitations had ex pired on th e false statements, Tony

ca nn ot face criminal charges. The report has been fo rward ed to th e state eth ics comm iss ion for

furthe r rev iew, whic h co uld res ult in a recommendation fo r DeSantis to suspend Tony. When

questio ned about th e matter, a spokesperso n fo r the Browa rd Sheri ff s Office referred inquiries to

a Miam i law firm , whic h did not res pond imm edi atel y to a request for com ment via email. Th e

FDL E report noted that To ny declined to be interviewed by in vesti gato rs. Under Ton y the

Broward Sheriff became a laughing stock and a. anct uaiy for fraud, 17 BSO employees are

accused of fraudulentl y obtaining Payc heck Protection Progra m loa ns and Eco nomi c lnju,y

Disaster Loa ns, including 16 who are fac ing wire fraud charges and one who's facing co nspiracy

to comm it wire fraud , U.S. Attorn ey for the Sout hern Di stri ct of Florida Markenzy Lapo in te sa id .

Stephanie Diane Smith, 53, as part of th e fraud scheme, Katrina Brown , 46. Brown has been with

BSO since 201 6. Alexand ra Acosta , 37 Acosta has been with BSO since 2013. La' Keitha

Victoria Lawhorn , 4 1 Lawhorn has been wi th BSO si nce 2007. Jewe ll Farrell John so n, 46

Johnso n has been wi th BSO since 20 17. Caro lyn Den ise Wade, 48. Wade has been with BSO

since 2002. Rori e Brown, 42, has been with BSO sin ce 2005. Alex is Monique Greene, 47.

Gree ne has been with BSO since 2007. Ritchie Noa h Du buisso n, 25. Dubui sso n has
               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 85 of 124




been with BSO since 20 I 9. Keshondra Tameisha Dav is, 37. Dav is has been with BSO since

2016. All en Dorvil, 33 Dorvi l has been with BSO since 20 17. Jean Pierre-Tou ssant , 35. Pierre-

Toussant has been wit h BSO since 201 7. Ancy Morancy, 33, has been with BSO since 20 16.

Marcus Errol Powell, 37. Powe ll has been with BSO since 2016. Derri ck J. Nesbitt , 46. Nes bitt

has bee n wit h BSO since 2002, says Keith Dunk ley, 46 . Dunkley was hired by BSO in 2007.

George Anthony III , 50. Anthony, a sergeant, was hired by th e BS O in 200 1. Regrettab ly, th eir

du ty was to sa fegua rd the publi c, yet th ey are the ones ca using harm to the publi c.


                        STATE OF F LORIDA RAC I ALLY PROFI L I NG
                               FO R EQUAL PROTECT ION


Due to the disappointment caused by loca l officia ls, I had no choice but to repo rt their crimes to

state authorit ies. I submitt ed numerous compl ain ts to the Offi ce of th e At torn ey General , Ashley

Moody, Florida Departme nt of Law Enforcement (FDLE), Division of Crim inal Justi ce

Com miss ioner Mark Glass, and the State Bar of Florida President Scott Wcsth eimer, detai ling

the crim inal behavior of Eric Sa lpeter, Cheryl Bucker, and Penn y Tay lor-Miller. Unfo rtun ately,

my complaints we re once again dismissed without any resolutio n, leaving me feeling hopeless.

Eric Sa lpeter, Che1y l Bucker, and Penny Tay lor- Mill er, Florida bar attorneys, have been

impli ca ted in a seri es of crimin al activiti es, such as robbery, fraudu lent judgments concernin g

pri vate property, fabrication of case numbers re lated to property fraud , disse mination of fa lse

and deceptive information, wire fra ud , deception through th eft , forgery, fraudulent transfer of

titles, misrepresentation, and other offenses. The FDLE has determi ned th at, upon reviewing the

co mpl aint, it does not meet the criteri a fo r an investigation. The Florida Bar, comp rised of all

atto rn eys auth ori zed by th e Supreme Court of Florida to practi ce law in the state, has primary

respo nsibilit ies. These includ e overseeing lega l practice in Florida , upholding the hi ghes t
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 86 of 124




standards of legal et hi cs, and safeguardin g the public by prosecuting unethi cal lawye rs and

preve ntin g un auth orized legal pract ice. The Florida Bar's key fu nct ions are to regul ate lega l

practice, mai ntain professionalism, and protect the public from mi sconduct. It is

imperative for th e Bar leadership to th oro ughl y in ves ti ga te all comp lain ts, rega rdl ess of th e

sou rce, and respo nd promptl y to maintain th e integri ty of th e lega l profess ion. Failu re to address

co mplaints can lead to further iss ues and potenti al discipl inary acti on. It is crucial for la wyers to

act responsibly and ethicall y to avo id negative impacts on indi vidua ls and fami lies in the

community.
            Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 87 of 124




From the Florida Attorney General's Office

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 u         FRANTZ701@YAHOO COM

l">J h     Monday, Dec mber 19. 2(122 aI 1001 AM EST




 This Is lo acknowledge rece,pt of you, correspondence 10 lhe Florida A11orney General's Office.

 We appreciate hear,ng from you. and I am sorry for your d1fficult1~s. The Florida Supreme Court has designated The
 Florida Bar as the authority responsible for rev,ev.ang gnevances against attorneys licensed 10 prac11ce in this s:ate . The
 Bar has a ded,cated Hotline to assist ,ndMdual consumers. Contact 1nformat1on for The Florida Bar 1s·

  The Flonda Bar
  651 East Jef1erson Slreet
  Tallahassee. Florida 32399-2300
  Telephone (850) 561-5600
  /ICAP Hotline: 1-866-352-0707
  Website. www nondabar org
  Con1plaint U!.IPS 11w.,;bp.10, I 0,1r.,t;,b<1r ,ug,'.l\:P.;•n1ntl'nt1_1ptos1c1s'20 I71Q-1 1111~YJ!Y.:.~2!!.H?!.a!!l1:!~!.lli..Rill

  For more 1nlorn1a11on on attorney regulation and th o gnovance process. please v1s1I the following Florida Bar" eb
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 Because our office ,snot ai hborty 10 give legal op,mons or advice to pr,vale 1nd,viduals. ,f you need legal gllldaice.
 plcaso consult private legal counsel. II you need h~lp f1ncl1ng an attorney, The ~londa Bar offers a Lawyer Rcfe·ral
 Sorv1cc tolHrco at (800) 3~2-60 1t or onl,no .Jt !]!J;,s .,mw 0,111d.•h" <'£\>11l1I L•·J!!.

 Thank you for contact,ng Attorney Gcncial Moouy·s office. We hope this proves hclplul.

 Su,ceroly.

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                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 88 of 124




          Coconut C,c~~ FL 33073
          Phone (95-1) 603-6816
          Ema I frantz70 @yahoo com

          RE SALPETER GITKIN LLP
          4140 N\V 62nd Ct
          Coconut Creek
          Phone (954) 467-8622

           SubJect· EDWARD MISLEH RITA GERMAIN ERIC T SALPETER

          Attorney ERIC T SAL PETER nwol es in real estate fraud filing fake documents
          toga: pos11ton of my propert . ERIC T SALPETER has been o g.iged ,n
          s01>O1at1on false .,avert1sement. bnbery deal and cut back . A serial criminal
          act1v,s1us,ng the state bar a\lomey ,.,,th
                                                   an apat,te to n11slead the court
          system. I na, e the evidences I need help to sign this case lo a local FBI agent
           10 assist me in m,s situation.




The Attorn ey Genera l, as required by the Florida Constitution, serves as the primary legal

representative for The S tate of Flo rid a and is responsibl e for protecting the state's interests. The

Attorney General's duti es encompass the Enforcement of state consumer protection and antitrust
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laws, as we ll as th e c iv il prosecuti o n o f c rim ina l racketeering. In th e rea lm of crimina l law, th e

A ttorn ey Ge nera l acts as th e state's represe ntati ve in appea ls fil ed by conv icted Individu a ls,

in c luding cases in vo lv in g ca pita l murd er. Des pite repo11ing insta nces of mi sco ndu ct to c iti zen

se rvices Sin ce 2022, in c luding th e fak e judgme nt by Edward Mi sleh fro m Ca liforni a, th e lack of

acti o n has le ft me vu lne rabl e a nd homel ess today. The de fend ant refused to prov id e me wit h th e

equ a l protecti o n that I have bee n pursuin g s in ce 2022, resultin g in a fa lse arres t. I was assault ed

by Browa rd Sheriff Deputi es and Coco nut C reek Poli ce O ffi ce rs who fo rcibl y entered my pri va te

property, subj ected m e to multipl e att acks w ith deadl y wea pons, and fa lse ly impri so ned m e wi th

burg la ry charges re lated to my ow n prope11y
                                  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 90 of 124




            GERMAI N, FRA N TZ




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The Florida Bar, comprised of all attorn eys aut horized by the Supreme Court of Florida to

practice law in the state, has primary responsibiliti es . Th ese include overseeing lega l practice in

Fl orida , upholding th e highest standards of lega l ethi cs, and safeguard ing th e public by
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prosecuting unethical lawyers and preve nting unauthori zed legal practice. The Florida Bar's key

funct ions are to regu late lega l practice, main tai n profess ionali sm, and pro tect the public frolll

lllisco ndu ct. It is illlperative for the Ba r leadership to th oroughly in vestigate all co mpl aints,

regard less of th e sou rce, and respo nd prolllpt ly to mai ntain the in tegrity of th e legal professio n.

Failure to address colllpl ain ts ca n lead to furt her issues and pote nti al disciplinaiy actio n. It is

crucia l for lawye rs to act respons ibl y and eth ica ll y to avo id nega ti ve im pacts on individua ls and

fam ilies in th e co mmunity. The defe nd ants are res pon sible for dalll ages amountin g to

$ 12,000,000.00 in bus iness assets, whi ch in cludes outstand in g debts owed to the United States

Gove rnlll ent throu gh SBA loans. The SBA Loan Number 8 113 795 00 8 totals $275,359.42, SBA

Loa n Numb er 5311737807 a!llou nts to $500,000.00, and SBA Loa n Nu lllber 68 11 40790 I is

$500,000.00 for co ntrac t losses and equi plllent dalll ages. The ev icti on resu lted in the obstruction

of access to lllY hollle-based business, leading to its downfall, repossess ion of equiplllent

(Trucks, Trail er, Flat-b ed, D1y-va11 , and ELD) , and th e departure of drivers seeking employlllent

elsewhere. I los t all signifi cant co ntracts th at I had dili ge ntl y secured with va ri ous compa ni es

suc h as Landstar, JB Hunt, XPO, Rya n Transport, Redwood Logist ics, AP Freig ht Inc, Cowa n

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Lund, R2 Logistics In c, Sh ine Logistics LLC, SunTec k Tra nsport Co, Eps Logistics Serv ices Inc,

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Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 92 of 124




      SBA Loa n Numb er 8 11 3795008 $275,359.42
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         Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 94 of 124




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9B ❖
                                          U.S. Small Business Administration

                                                                                                                           JM FINANCIAL SERVIC ES INC
SBA Lun ,: Sll 1737807                                                                                                              2~0 C(SERY 8LV0
Loan Typ e: Disaster COvtD-19 Economic Injury                                                                                  JACKSONVILLE, Fl 32211




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               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 95 of 124




       I und erstand that I am swearin g or affirming und er oath the truthfulness of the
claims made in this Petition and that th e punishm ent for knowingly makin g a false
state ment includ es fin es and/o r imprisonment.

The foregoing in stru ment was acknowledged by means of phys ica l presence or online.
notari zation, and sworn before me on this 30' h day of June 2024, by FRAN TZ
GERM AI N     /Yf111ff7n111ain


                                        Fr-antz Gcrrn21ln




                                   Commission Expire : 03/15/2026
                                     NOTARY PUBLIC SIGNATURE



                                         CERTIFI CATE OF SE RVIC E
          I HEREBY CERTIFY true and correct copy of the foregoing has been furnished via
          E- mail serv ice of process to Respo ndent Ashl ey Moody
 as hley.111oody@111ytl orid alega l.co111,
          F. Scott Westheimer swestheimer@s mrl. com on thi s 30t h day of June 2024.

 Office of th e Atto rn ey Genera l State of Florida
 PL-0 I The Capitol
 Ta llahassee, FL 32399- 1050
The Florida Bar
65 1 E. Jeffe rson St.
Tallahassee, FL 32399

Eric Salpeter
3864 Sherida n St
Hollywood, FL 3302 1

Cheryl Bucker
50 NE 26th Ave Ste 402
Pompa no Beach , FL 33 062

 Penny Ta ylor-Mi ll er
IO I 00 W Sample Rd Ste 332
Coral Sprin gs, FL 33065
                                       Re spectfull y s ubm itted
                                           Frantz Ge rm a in
                                 300 PE AC HTR EE ST NE UN IT 3129
                                        ATLANTA, GA 30308
                                            404-663-4446
                                        Frnntz70 l @ yahoo .com
      Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 96 of 124




                         SBA Loan Number 6811407901 $500,000.00




Sutement D•t•: 0S/17/2023                                                                                                AOELLES lRVCt<JNG LLC
SBA Loan t: 681 1 ◄07!)() 1                                                                                                      4140NW62NOCT
Loan Typit: Dis.tstir COVI0- 19 ECOf'i0mic Injury                                                                    COCONUT CREEK. FL 33073




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                                                         12/ 17/2022


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To1t'mi1 p~otl, p~n• ytf.1t MySRA Loan Po ra t ,no ~Kt                 l'lt,nt' dll"fl:I you, Qunrion , •nd comm:l'l)'fl(~n(~ ro 1M 11dd1us bftlow:


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                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 97 of 124




Desp ite fac ing numerous traumatic experiences and struggling to cope, I have fo und that with

time and proper se lf-ca re, things tend to improve. However, enco untering a po li ce officer

exace rbates my symptom s, leadi ng to prol onged impact on my dail y fu nctionin g. I have been

dealing wi th men tal hea lth cha ll enges, which unfortun ate ly ca used me to fee l discon nected from

the wo rld clu e to fea r. Despite neve r be in g arrested , imp risoned , or j ailed, I have been subj ected

to abuse and fraud , leavin g me ove rwh elmed w ith pain and ho melessness. T he treatment

invol ved va ri ous medi cat ions, inc ludin g fed era ll y controlled substa nces clu e to th eir potent ia l for

abuse and dep end ence. Aclclit iona ll y, I experienced emotio na l d ist ress after witnessing m y

daughter's fun era l se rv ice on YouTube and bein g a v ictim o f co ntinu ous prop erty fraud

activities, whi ch has plun ged me into deep depress io n. Adjusting to da il y li fe has been incred ibl y

chall eng in g, and I am currently st rugg ling to cope.

                                      FOURTH AMEND MENT RIGHTS



The 4th Amendment is a mong the most sacred safeguards of indi v idual liberty embedded in our

Cons titution . T he ame ndm ent read the right of the people to be secure in th ei r persons, houses,

papers, and effects, aga inst unreasonab le sea rches an d sei zures, sha ll not be vio lat ed, and no

Warrants shall issue, but upon probable cause, suppo1iecl by Oath or affirmati on, and parti cul arly

desc ribing the place to be sea rched, and th e perso ns or things to be seized in just 54 wo rds, the

4th Amendm ent packs a lo t of s ignificance, and inte rpreting th e ir me aning has kept j ud ges a nd

lawyers busy fo r ce nturi es. The basic premi se of thi s ame ndm ent is to protect Americans from

unreasonabl e sea rch es a nd se izures of th eir prope rty by the government.


                                            Florida v . .I .L. , 529 U.S. 266 (2000),
                                    Albo v. State, 477 So. 2d 107 1 (Fla. 3d DCA 1985 ),
                                    C.G. v. State, 94 1 So. 2d 503 (Fla. J d DCA 2006).
                                   Phillips v. State, 78 1 So. 2d 477_(F la. 3d DCA 200 1)
                                       Mullin s v. Stale, 366 So. 2d 11 62 (F la. 1978).
                                  Levin v. State. 449 So. 2d 288, 289 (Fla . 3d DCA 1983).
                   Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 98 of 124




                                              State v. Levin , 452 So. 2d 562 (Fla. 1984).
                                          Ada ms v. State, 83 0 So. 2d 91 1 (F la. 3d DCA 2002)



                                             FIFTH AMENDMENT RIGHTS

No person s ha ll be held to a nswer for a ca pi tal, or otherw ise in famo us crim e, unl ess on a presen tm ent or

in dictme nt of a Grand Jury, except in cases arisi ng in t he la nd or nava l fo rces, or in t he Militi a, w he n in actual

service in tim e of Wa r or publi c da nger; no r shal l a ny pe rson be subject for th e same offence to be twi ce put in

jeopardy of life or limb; nor s hal l be co mp ell ed in any crimin a l case to be a witness aga inst him se lf, nor be

dep rived of life, libe rty, o r prope rty, w ithout du e process of law; nor s hall pri vate property be take n for pub lic

use, without just co mp e nsation.



                                                  Mira nd a v. Arizona, 384 U.S. 436 (1966).
                                                          Miranda, 384 U.S . al 458-60.
                                             Counsel man v. Hitc hcock, 142 U.S. 547,562 (1892)
                                                Griffin v. California, 380 U.S. 609,615 (1965).
                                               Bax te r v. Palmigiano , 425 U.S. 308,3 18 (1976).
                                                    Malloy v. Hoga n. 378 U.S. I, 7 (1964).
                                            Mic h igan v. Mosley , 423 U.S. 96, I 04- 06 ( 1975);
                             State v. Blevins, I 0 8 Idaho 239, 242, 697 P.2d 1253, 1256 (Ct. App . 1985).
                                    Sta le v . Law, 136 Idaho 721,725 , 39 P.3d 66 1,665 (Ct. App. 2002);
                                S tate v. Wh ipple, 134 Ida ho 498,502, 5 P.3d 478, 482-64 (C t. Ap p. 2000).
                                   State v. Person , 140 Idaho 934,938, 104 l'.3d 976, 980(Ct. App. 2004)
                                                 Miller v. Fenton, 47 4 U.S. I 04, I 09 ( 19 85)
                                      Sta le v. Samuel, 165 Idaho 746,766,452 P.3 cl 768, 770 (20 19).
                                            O lmstead v. United States, 277 U.S. 438,485 (1928 )




                        FOURTEENTH AMENDMENT EQUAL PROTECTION RIGHTS


All persons born or nat ura li zed in the Unite d States , a nd subject to th e jur is di ction t he reo f, are citize ns of t he

United States and of the State wherein t hey reside. No Sta te s hall make or e nfo rce a ny law w hi ch s ha ll abridge

t he pr ivi leges or immuni ties of citi ze ns of the Uni ted States; nor s ha ll a ny Sta te deprive a ny person of li fe,

liberty, or property, witho ut due process of law; nor d e ny to a ny pe rso n within its ju ri sdicti on the equa l

protection of th e laws.
                                                 Scot! v. Sa nrord, 60 US 393 (1857),
                                                  El k v. Wi lkins. I 12 U.S. 9-1 (/88-1),
                                       Un ited States v. Wong Kim Ark, 169 U.S. 6-19 (/8911).
                                             Un iled States v. Guest. 3113 U.S. 7-15 (/966)
                                           Un ited Sta tes v. Morrison, 529 ll.S. 598 (2000)
                                                She lley v. Kraemer, 33-1 US I (/9-18}
                                   Burton v. Wi lmington Park ing Auth ority, 31i5 US 715 (19/il),
              Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 99 of 124




                                      Reit man v. Mu lke y, 387 US. 31i9 (1967)
                              Jackson v. M etropo litan Edison Co ., -1 19 US. 3-15 (197-1),
                                 Flagg Broth ers, Inc. v. Brook s, -13/i US 1-19 (19 78)



                                      PRA YE R FOR RELI EF

WHEREFORE, I ask that the court grants j udgment in my favor and against the Defendants
for the relief specified below.

Tt is essential to seek an injunctio n for compensatory damages more than $ 12,000,000. 00 for
punitive dam ages, irreparab le damages, inc lud ing outstand ing debts, business assets,
property damages, and m ental d istress.

The Court has the authority to impose suitable di sciplinary measures based on the evidence
against attorneys Eric Salpeter, Chery l Bucker, and Penny Tay lor Miller. I recommend
pem1anent di sbarment for th ese indi vidual s to prevent them fro m practic ing law.

Request a legal order fo r the unidentified tenant to promptl y vacate my premi ses.

T request that the cou11 reinstates my ownership, transfers the prope11Y deed back to me as the
ri ghtful owner, and gra nts me im med iate access to my prope1iy.

I request that the cowi compel the defe ndants to apprehend Eric Salpeter, Che1y l Bucker, Penny
Taylor-Miller, and Edward Misleh. Tam entitled to pursue lega l acti on for the ham1 they have
caused me.

                                                 EX HIBI T

                           A. Form al gri eva nces to th e state authoriti es

                           B. Eri c Salpeter's in vol vement in crimi nal acti vities

                           C. Cheryl Bucke r's in vol ve ment in crim inal acti vities

                           D. Penn y Mi ller-Tayl or's in vo lvement in crimin al acti viti es

                           E. Th e Sta te Bar of Ca lifo rn ia di sbarred Ed ward Mi sleh

                           F. False affest

                           G. Proof of ownershi p

                           H. Ev idence from th e State of Califo rn ia
               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 100 of 124




       I understand that I am swearing or a ffirming under oath the truthfulness of the
claims made in thi s Petition and that the punishment for knowingl y making a false
state me nt includes lines and/or imprisonment.

The fo rego in g instrn m ent was ack no w ledged by m ea ns of phys ica l presence or on line.
notarization , and sworn befo re me on thi s 30 th clay o f Ju ne 2024, by FRANTZ
GERMAIN .f'.a1iflYn 1mti11.,


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                                   Commission Expire: 03/15/2026
                                     NOTARY PUBLIC SIGNATURE



                                         CE RTIFI CATE OF SE RVIC E
         I HEREBY CERTIFY trne and correct copy of the foregoing has been furni shed via
         E- ma il serv ice of process to Responde nt As hl ey Moody
 ashley. m oody@my tl o rid a lega l.co m,
         F. Scott Westhe im er swestheimer@ sm rl. co m on this 30th clay of .June 2024 .

 Office of th e Attorney Genera l State of Florida
 PL-0 I The Cap ito l
 Ta llah assee, FL 32399-1050
The Florid a Bar
651 E. Jefferson St.
Tall ahassee , FL 32399

Eri c Sa lpeter
3864 S herid an St
Hollywood, FL 3302 1

C hery l Bucke r
50 NE 26 th Ave Ste 402
Pompano Beach , FL 33 062

Penny Taylor-Miller
10 100 W Sample Rd Ste 332
Cora l Sprin gs, FL 33065


                                300PEA          "        EUNIT3129
                                              NTA, GA 30308
                                            404-663-4446
                                        Frantz70 l @y ahoo.com
               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 101 of 124

                                                                  A
From the Florida Attorney Genera l's Office

FI om. attorney.genera l@rnyf101 idaleg al.corn

To       FRANTZ701 @YAHOO COM

Da te    Monday, December 19, 2022 at 10:01 AM EST




 This is to acknowledge recei pt of your correspondence to the Florida Attorney General's Office .

 We appreciate hearing from you . and I am sorry for your difficulties . The Florida Supreme Court has desig nated The
 Florida Bar as the authority responsible for reviewing grievances aga inst attorneys licensed to practice in this state. The
 Bar has a dedicated Hotline to assist individual consumers. Contact information for The Florida Bar is:

 The Florid a Bar
 651 East Jefferson Street
 Tallahassee, Florida 32399-2300
 Telephone : (850) 561-5600
 ACAP Hotline: 1-866-352-0707
 Website : www.floridabar.org
 Complaint: hi IRS ·//webwod .fl nd;:ibar.orglwR•Con ten lluploc1d s/20 17 /04 /i nguiry-con lP. lrnnt-form .Rdf

 For more informa\ion on attorney regu lation and th e grievance process. please visit the follo wing Florida Bar web
 pages :

 h!!11s /l,vww.fl orrda l)i:1 r. org/pu bl1c/ c1ca Pl
 h!!P.S l!www.f1 or1dnb,1r 9r~1!r:iuhl1r:lc1c~1Q/a s1s l:11lco/

 Because our office is not at liberty to give legal opinions or advice to private indi vidua ls . if you need legal guidance.
 please consult private legal counsel. If you need help finding an attorney, Th e Florida Bar offers a Lmvye r Referral
 Service toll-free al (800) 342-8011 or onl1ne at htt r.s ://www fl0nd:1l1:-i r.0rg{pubh cll1sl .

 Thank you for coritacting Al.lorney General Moody's office. We hopo this proves helpful.

 Sincerely,

 A lexis Koll er
 Offic of Citizen Services
 Florid::i Attorney General's O!l1co
 PL-01. Tho Capi tol
 Tallaha ss ee . Florida 32399-1050
 To lc phono (850) 41'1 -J9QO
 Toll -fre o within Florida : (8GG) 96G-722G
 Woti s1to. www.111yflorlc1:ilognl.co 111

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.,.             Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 102 of 124

      Coconut Creek . FL 33073
      Phone : (954) 803-6816
      Email: frantz701 @yahoo .com

      RE. SALPETER GITKIN LLP
      414 0 NW 62nd Ct
      Coconut Creek
      Phone . (954) 467-8622

      Subject: EDWARD MISLEH. RITA GERMAIN, ERIC T SALPE1ER

      Attorney ERIC T SALPETER involves in real estate fraud filing fake documents
      to get position of my property. ERIC T SALPETER has been engaged in
      sol1c1tat1on . false advertisement. bribery deal and cut back. A serial criminal
      activist using the state ba r attorney with an apatite to mislead the court
      system . I have the evidences I need help to sign this case to a local FBI agent
      to ass ist me in this situation.
                               Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 103 of 124




            "AS IS" Residential Contract For Sale And Purchase
            THIS FORM HAS BEEN APPROVEO ev THE FLORJOA REAL TORS AND TliE Fl..ORJOA BAR
                                                                                                                                                      .r                      Realtors
'. PARllES:                                           R.i.t& Ou-aaln                                                               rnnta 0er'&&io                               r&!le<j,
                                                                                                                                                                                        on.
2•            anc1                      ,. 1.n • t oa ~ C&.o..o i o i .                                                  , t acz    o OcN'Q. c..=1 c 1a                         ("Buy
3
              agree ~at ~alter shaU sell aod Buyer shall buy the following described Real Property and Personal Property
•
g
              (collectivety Property") pursuant to the terms and condlllons or tNs AS IS Residential Contraci For Salo Alld Pwchaso
              and any riders and addenda ('Contract"):
•l•            1. PROPERTY OESCRIPTION;
                    (a) Streat add re!:.!!, city. iip: __,_1_,_o_-.:..l0t_6_2:..o:..d_ _ _ _ _ _ _ _ _ _c:..t__co_eo_n_u_t_c_r_..   _k_,--,r.,..1_ _J_J_o_1_J_
 •·,.               (b) loC'81ed in:        JI~             County, Flor1de. Property Tax ID # :_ _ _ ____:•~11_-..:.•~2-_0:....:5:--..;..:2_:2_-_o_,3;_0..;..__ _ __
                          (c) Real Property: Tho legal des.cripljon Is
10                            COCOUl 160-6 D T'l.)t.T PUT or fA.I\CllL A O1ec'0 ,.., C'(»O( AT 5 1/4 co~ or UC s-,e-•2 in<Ll
1\                             693,66 TO POl,S)(Lt ALO 1/L 5O,1O,N";o(Ll 115,OO,N1n.T 50,10, lll.t 115 TO PO~ 1JV1.1 LOT 6J COCOIIJ\?
 12                           logolhor with all 01d1.Ung \~rovements and fixtures, Including bultt-ln app~ances, built-In tumh,hlr,gs and
 13                           attached well-to-well carpeting and flooring ("Reel Property') unless spcciflcally excluded In Paragraph .1(,e) or
 H                             by other lerms cl this Contract.                                    •                                        ·
  \S                      (d) Pe~nel Property: Unless excluded In Paragraph 1(11) or by oth1u lom-.s of !his Contracl. lhe following it oms
                               which are owned by Seller and ex~tlng on the Proparty os of tho dale of 1he iniUol oflor aro includod in the
    ,,
  111
                               purchase: rango(s)/0\len(s), remgeralor(s), dfshwashor(s), disposal, celllng fan(s), light nxture(s), drapery rod:S
    11                         and draperies, blindt;, window treatments, gmoke d11leC1or(s), garag11 door openor(s). tharmostat(s), doorban(s).
    It                          lelovi~on wall moun\(s) and telev~lon mounting herdwnra, security ga\o ond olhar access devicQS, mnJJbox
    ;,o                         koy-s , end storm shutters/stom, protection Items end hardware ("Personal Propertyl .
     2,•                        OUwr Personal Property horns lncludo<I In this purch~o oro :_ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __
     2:2
     ::>                       Pef'!>-Onal Property is included In the Purchase Prir.e, has no contributory voluo, ond shall oo Ian for tho Buyer.
     2•·                   (e) The following items ere oicludod from tho purchase :_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     i,

                                                                                    PURCHASE PRIC E AND CLOSING

                     2.     PURCHASE PRICE (U .S. currency): .... ...... ......... .... ... .. ...... ...... ...... ...... .... ................. ........ ............. $    510,000.00

      n•                    (1) lniti11I doposrt to bo held In escrow In tho 11mounl of (checks subjt-el to Collection) ... ... ..... S                                        10,000.00
      19                        The in!Ual depos it made payable end do,vered lo ·Escrow Agent" nam&d below
      )0.                       (CHECK ONE) : (i) 0 ecco~enles orfer or (ii) 0 Is to be made within _ _ (if ten blank ,
        ll                      than 3) d ays oner E!1octive Delo . IF NEITHER BOX IS CHECKED, 1HEN OPTION (II)
        ll                      SHALL BE DEEMED SELECTED .

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         le.
                                E...aowAg ent Name :
                                Addrau :_ __ _ _ _ _ _ _ _ _ _ _ _ __ _ __ Phona :
                                  Email:
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                                                                                                                        FoK : _ _ _ _ _ _ _ _ __
                            (b) Additional deposit to be dollvered lo Escrow Agenl within _ _ _ _ (If lert btank, then 10)
         n•                     days after Ef1ect.lvo Dalo ..... ........ .... .. .................. .... ..... ..... .. ......... .... .. .... .. . ......... ................ S_ _ _ __ _
         »                      (AJI depoelt:s paid or og re od lo be po 1d , ore colli,ctlvely re Ja rrod to os tho ·oo po~n
         »·                 (c) Financing: Expre-ss as a dollar amount or ~rce ntage ('Loo n Amount") see Parogroph 6 .... .....                                                   ,00000
                            (d) Olher.                                                                                                  ....... ....... .. s_____
                            (e) B,1lanoe to close (not Includ ing Buy or'G closing costs. prepokls ond prnra Uons) by wire
                                ttans-f&r or other Collec1od funds (See STANDAAD S) ... ... ......... .......... .. ......... . .... .. ... ........ .... s   92. coo . oo
                     3.     TIME FOR ACCEPTANCE OF OFFER ANO COUNTER-OFFERS; EFFECTIVE DATE:
                            (a) If nol &lgntd by Buyor and Seller, and an exocutod COVi dotvered lo 11II parties on or before
                                   7 /:,1/102::,                 , this offer !lholl be dee mod wrthclrewn and tho Deposit, II eny. shall be returnud to
                                Buyer. Unln.s othe~e staled, bma for accept.once or uny counler-oners sha ll be within 2 days aner the dey
           .,J4                 th• counl.tr--off•r I• delivered .
                            (b) The olfecitv• date or lhla Contract 11hell b• tho dato when tho la?t one of lhc Buyor end Seiter ha:l :s.lgncd or
           .,"                  Initialed ind d1Uv1rod !his offer or /\nol counter-orfer rErrectJve Oete") .
           IIO        4.    C1..0SING; CLOSING DATE : The clos ing of this transuctlon shell occur when oil func1' required for clo<;;ing are
           II               recA!iVtd by Cloai ng Ao•nl and Colloctod pun.u11nt lo STANDARD S c,nd oil clo,lno docurnanl, requir&d \o be
           u                funtshed by 01ch party purouant to th~ Contract ore de~vsr!>d ('Closing") . Unlos, mo<llflod by other provisioo~ of


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                     DL# Uf-•r• ,, 110••··., ,. 1111.ack Ce40<,J ... -                        ..... , .... " u, .. 1 · - ·      luc,J --- . , , ..... 0,lo-.d . . • . • - ·    '1t, n .&.M lA.CT•O
                   Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 104 of 124




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                    ATTORNEY'S FEES ANU
                                        COSTS




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Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 105 of 124




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 147          during the t..me period from U'le date of conditional tesmlna tion lo Terrnlnation Dale and Protection Pon"1 . II
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 I        12. Dispute R sotution: This Agreerooot wi be construed under Floooa law. All controversies, dnims, and otht•r
 150          mane-rs in question betv.~n lhe parties arising out of or relating to this Agnt ment or the breach thoreof will o
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 I~           Agn,ement or an al'blnstlon award') will pay ils own rees. oosu, nd e.xs,.,nses. Including attorney's fee., , ind wilt
 159          "QuaUy spat the al'bltrator's re.es and admln.istrati-.-e fe ,s or arbitration.
 160      1l. Mlsc.elLaneous: Thls Agreement ts binding on Seller's and Bro r's helrs, personal ropro.sen\all s,
 161          ildmhl.strators, successors, and assigns , Broker m y S51gn lhls Agreement to another listing office. This


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Wire Fraud Prevention Notice


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Criminals/hackers are targeting email ac.counts of various par1ies nvolved In real estate transactions (e.g., lawyers. tit.le
agents, mortgage brokers, real estate agents). These ema ils are convincing and sophisticated. Among other concerns,
this has led to fraudulent wiring instructions being used to divert funds to the criminal's bank. account. These emails may
look like legrti mate emails from the proper party. If you receive on email regarding instructions that contains any
suspicmus information. do not dick on any links that may be In the email and do not reply .

 3roker strongly recornnends ttiat Buyer, Seller, and their respecttve attorneys and others working on a transaction. refrain
 fro m placing any sensttJVe personal and fmanclal lnformatlan in an ema il. directly or through an eman attachmenl 'Nhen
'. here is a need to share Soetal Security numbers, bank accounts, credit card numbers. wmng instructJons or similar
sensitive information, Broker strongt)' recommends using more secure means, such as providing the information in
person, over the phone, or through secure mail or package services. whenever possible . In addition,~ Buyer or
Seller wire.s any funds to any p,arty (Including Buyer or Seller's attorney, title agent, mortgage brok.er, or real
estate broker) personally call them to connrm the irrformatlon Is legrtimate (i.e., confirm the ABA routing number
01 SWIFT code and cre.dit account m.wnber), Buyer and Seller should call them at a number that is independently
obta ined (e.g from this Contract. the recipie nt's website , etc.) and not use the number in 1he email In order to be sure
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,   Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 112 of 124




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         Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 114 of 124                                                                                                                         ..   ,,   '   T"
~     ~       Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 115 of 124
    Broward County Commiss ion
    Deed Doc Stamps: $3570.00                                                                 D


           Pt l?.J2:ll'CQ_Q_y:
           l<'.ric T. Snlpctcr, £sq.
           SalpclH (;itkin LLP
           3864 Sheridon Street
           I I oll ywontl, FL 33 02 1
           9S4-467-RG22 ·
           File !\'.umber: 50 10.001

           A f\cr recording_ rcturn_to:
           Title Now, LLC
           440 NR 4th A venue
           Suite 2
           Fo r t Laudcnlalc, FL 33301
           File Numl.Jrr: A23-07021T

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                                                                               Warran ty Deed
           T his \Varranty Deed made this _ -~-- day of March, 2024 be lween Rita t;ermaiu n/k/a Rita Augustin , a ma r r ied
           wom,,n, whose posl ofiicc address is 5150 Rocklin R d., 11303, Rocklin, CA 95677, and f'ra nl 'I. Germain, a single man,
           whose pos t office address is c/o Pen n y Taylor-M iller, J•,A., 10100 W. Sample Road, Suite 332, Cora
                                                                                                                       l Springs, FL
           3 fHl65, ("Grnntor"), ond \Vlnstou llarwisc Cnnnl.clc nnd Stncy JJ. Downs Can11iclc, huslll\nd a11tl wife whose
                                                                                                                           post of'ficc
           aut!n:ss is 4140 NW 62nu Cuurl, Cocon ut Creek, FL 33073, ("Grantee"):

           (\Vhc11,wcr used herein the 1cnus ernn10.-" ;.ind •grantee" indu<le all IIH!. p;:irtu.:s to this im,hutrn:nl and lht' heirs, ltg.i l
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                                                                                                                                                tt:ptl!sent;., tivt's, umJ assigus of individuals,
           :.111d the MICCr.Mu1s n11d a~1gus ofcu1porn1ious, 1rus1 s und truste es)


           \Vitnesse th, that said g rantor , for and in consideration of the sum ol'TEN AND NO/100 DOLLARS ($ 10.00) and other
           guod and valuubk considcr11t ions to said grantor in lrnn<l paid hy sa id gn 111tce, the reccipl wh ereof is hereby acknowlctlgccl,
           li as c1antcd, bargained, iind sold to the said grnntee, and grnntee's he irs ond ass igns forever, the following described
                                                                                                                                         lau d,
           situttlc, l)~n g a nd being in Broward County, Flo rida to-wit :

                        A porlio11 of Parcel "A", "Cocobay", ncconlini,: to I he plat thereof, as rccor<lc:d in Plnt Rook I GO,
                        Page 6, of the Puh li c Rr.corrls of nrowanl County, F lo rida, being moi·c pnrticnln r ly clrsrril>r<I as
                        follows:

                       C.ommcncc at th e South Quar te r (J/4) co rn er of Section S, Township 48 South, ll:rn gc 42 l•::ist, ns
                       showu 011 the said pla( of "Coi:ob,1y", th e W es t li11c or th e Soulh(:a.~( 1/4 of said Section S, havin g a
                       h cori 111-: of Nort h 01° 05'24" \Vest; OH•ncc Nor th 12°3G'l4" 'Nest, fo r 6!>3.f,fi f<'et to the Point of
                       llcginning of the hc rciuaft er descri bed parcel; lhc11cc South 77"39 '46" \Vest, along lhc .South
                       boundary lin e of said P:-ircc l A", for SO.JO fe e t; thence North 12"20'!4" \Vest, fnr 115.00 feet; rl1cn ce
                       Nn t'th 77°J9'46" East, fol' 50.10 fee t; thence South 12°20'14" l~nst, for 11 5.UU reel to th e Puiut ul'
                       Begi11ning.

                       Also known as Lo( 63, "Cuc oliay", au un r ernnlctl plat in th e City or Coconut C1·cck, Ilrnwanl
                       County, Florida,

                       (llcrtrings Ul' C L,ascd upon the Wc.~l line of the Southeas t 1/4 _of Section 5, Towns hip 48 S~uth, T~nn~e
                       42 Rast, ns shown on the JJlut of "CocolJny", a$ recorded rn l'lnt Book 160, l'age 6, ol lhl' l ul>lk
                        Hcronls of Brow:trcl County, Flo ridn, having a bearing or North 01"05'24" West.)

                        Parcel I<lcnlificotion Number : 48-42-05-22-0 630
                        ProJ)erty Address: 41 40 NW 6211tl Cou rt , Cnco1111! C reek , l<L 33073



                                                                                                                                                                                 Ooubl.,Time"'
        Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 116 of 124




            This conveyance is subject to the following:

            1.      Tnxey fol' the year 2024 nud subsequent yenr.~, which are not yet due and pnyablc;
            2.      Covenants, conditions, restrictions, easements, reservations and limitations of record, If any
            without reimposing snmc.

***Gran tor, Rita Gm·mnin n/k/o Rita Augustin, wun·nnls thnt. 11t the time of this conveyance, the subject property is
NOT he,· homestead within t h e meaning set forth in the cons!ituliou of the State of Florida, nor is it contiguous to or·
part of homest ead property. Grantor's 1·esidence is a t 5150 Rocklin Rd., #303, Rocklin, CA 95677.

Together with all the tenements, hercd itamcnts and appurtenances thereto belonging or in anyw ise appertaining.

To Have and to Hold, the same in fee simple forever.

Anet the grantor hereby covenants with sa id grantee th nt the grnntor is lawfully s1.:i:.:cd uf snicl land in fee simple; that the
grantor hns good right nnd lawful authority to sell ond convey sa id land; !hat the grantor Liereby fully warrants the title to
said lund and will defend the same against the lawful claims of nil persons whomsoever; and that said land is free of all
encumbrances, except taxes accruing subsequent to December 31, 2023.

Tn Witness Whereof, grantor has hereunto set grantor's hand and seal the day and year first above written.

            fa
Signedf led and delivered in our presence:

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Wi6iiJ~,I! I_ ~ignaturc: . . .        .·                          RiiR Ger uin n/1(/a Rita Augustin
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Witncsy/2 Sign__oturc:{
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Witness 112 Printed~amc:
Witness #2 Address: - - ~ --...,---
  d,i'b '-( :,,·(!,i ,,l-- .(1,~ -t
-fl, fti -:7 ,.{. ,~ :.- J ?,' ?..- I
Stnte of Florida
County of Broward

The foregoing ins lrnment was ncknowledged before me hy means of [X] physicn l presence or [J on line not~rizntion , this
~      - day 9 f Miirch, 202 4-_ by Rilu Germain n/lt/a IW:i Augus <_ln, ~ho        V
                                                                                 is personally known or ~rns prulluct:<l
            'f.,;!/j,-.,  Gb - DL _________ _                   as 1denl1fica 1 1.      ~



[Notary Seal]                                                      Notary Puhlic{

                                                                   Printed Name:         J e;_~{,{,t YJl/Uui(
                                                                   My Commission Expires :           Ol /0/ le, ~~

1Var1w1/y Deed - Page 2                                                                                                OoubloTlmo"'
  Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 117 of 124




                                                        ?-:16rc;q_ -----""''
                                                            os Spcclnl Mngistrntc for Frnntz Gcrmnin




Stnlc of Florida
County ofBrowun.l


_a__
P"""'"Y k"o~ °' [V1 h» pcodoood /=L . D. 4, .

tNotary Seal)
                                                           t /2(
The foregoing instrument wns acknowledged before me by means of[XJ physical presence or LJ onlitit! 11ot:arizatio11 1 this
        day of Mn,·ch,),024 by Penny Tri)'lo,r-Mil,lcr, Esq,, ns Specinl Mnglstrntc for l<'rnntz Gcrmuln, who LJ is



                                                                otary Public
                                                                                    as ldootificatioo.         ----



                                                              Printed Nnme:

                                                              My Commission Eicpires:




 IYa,'ronl)• Deed• l'u~c)
                                                                                                               OoubloTln,ev
        Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 118 of 124




             The State Bar of California
                           180 Howard St, San Francisco, CA 94105

San Francisco
Main Office
180 Howard Street
San Francisco, CA 94105
415-538-2000

    •     File.a complaint against a Califomia attorney, 800-843-9053
    •     Get help finding an attorney
    •     Ask a question about your State Bar license, AttorneyRegulation@calbar.ca.gov
    •     Ask a question about yow- application to the State Bar, admissions@calbar.ca.gov
    •     Find contact infonnation for a particular office at the State Bar



Attorney Profile
Edward A Misleh #273645

License Status:

Address: The Law Offices of Edward: Misleh, APC, 6395 Us Highway 1, Rockledge, FL 32955-
5746 Phone: 321-951-9164 1Fax: 916-266-9403


                                       and Administrative Histor


All changes of license status due to no disciplinary administrative matters and disciplinary
actions.
Date                  License Status                Discipline           Administrative Action
Present
3/4/2024              Inactive
12/1/2010             Admitted to the State Bar of Ca lifornia
                             Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 119 of 124



                                                    Broward County Sheriff's Office

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                                                                          Booking Report                                             ;:-y                         .
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                                                                                                                                                                                                         ....


          CIS#           512200561                            BCCN#                                                           Booking Sheet Control Date and Time
                                                                                 957798
                         607316799                      Print Clearane&      12/21/22 21 •44 •08    Prints Yes                12/21/22 23:27:19

          Arrest#         CK 2200561                    Offense Repon #          202234207                                    Agency           COCONUT CREEK


           Last Name
                 First
                                 Gl;;RMAIN, FRANTZ
                                                                                                                              SSN#
                                                                                                                                                                                        ..
                                                                                                                                                                                       •'
               Middle

          Race                      Sex Height    Weight      Eyes     Hair       Comp.     Age Admitted     DOB              Place of Birth          Stale                         FDLE

          8                         M · 509       180         BRO      SLK        ORK       39             3123/1983         PORT A PRINCE           HAITI                          0
                                      ·'
          Perma'nent                                                                                                              Months of Residence
              Address    4140 NW 62ND CT COCONUT CREEK FL 33073                                                                                0

          Arrest Date       12/21/22~14 :01 .00            Place of Arrest     4140 NW 62ND CT                   Arresting Officer     19237 E. RODRJGUEZ
                                                                               COCONUT CREEi< Fl 33073

          Inmate logged Date               12/21/2217.01:20          Inmate Log Type        FULL INTAKE                Place Admit1ed              MAIN


          Inta ke Comments       SP/CO/29154 16951 WC 17834

           Alias last name, First. Mid die, 008

          Wa1ra1 ,Is Officer Id: OS I 78:!-4

          Scars,Marks,Tattoos


          Release Date/Time                                  Release Reason                                                          Release Authorized By


          Charge No.            Charge Initiation Dale          Statute                  Warrant/Capias          Level M.C         B. Type                        Bond Amount
                 1                    12/21/22 22 ·59           810 .02-3(b)                                     2F      Y         HOLD FOR MAG                   $0.00
          Charges        BURGLARY UNOCCUPIED DWELLING UNARMED                             Comments

          Booking Off. 10       bs18036                         County                                           Judge

                                                                                     • End of Repor1 •
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        Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 120 of 124
~nstri 114801408 , Page 1 of 2, Recorded 12/28/2017 at 09:16 AM
Broward County Commission
Deed Doc Stamps: $2142.00
                                                                         G
         EXHIRl TA i.

     Prepared by:
     Greiory S. Gefen. PA
     1801 North Mllltary Trail #203
     Boca Raton, FL33431
     File Nwnbcr: · Gl 7-17<47
     Return to:
     Tropics Title Services, Inc.
     13701 SW 88th Street #301
     Miarni, FL 331~
     _ _ _ _ _ _ _ _ _ _ _ _ _ _ ... paceAbovcThla LlneFotRccordlnJI>Atl1.1-_ _ _ _ _
                                                                                      _ _ _ _ _ _ __
                                1



                                                           Warranty Deed
     This Warranty Deed made this 21st day of December, :2017 between Frederick A. Pfeffer and Sharon A. Pfeffer,
     husband snd wife, whose post office address Ls 3401 Bimini Lane #A-3, Coronut Creek, FL 33066, grantor, and Rita
     Germain .and Frantz Gerlll1ln, l'Vife and husbsnd, whose post office address is 4140 NW 62nd Court, Coconut Crtek,
     FL 33073, grantee:                                                                                           ·
     (Wbellever used h=iD 1he terms "r;rwntor" and "i!'Mtce" lnclw!c all the patties to this in.strumen1 alld tbc heirs. lept tepl'escrllatives. a n d ~ of
     individuah. I.lid the suocc:sson and ass<,ns of corporvions, crusts and tl'USI.COS)


     Witnesseth, that said grantor, for and In consideration of the sum of TEN AND NO/100 DOLLARS ($10.00) and other
     good and valuable considerations to said gnmtor in hand paid by said grantee, the receipt whereof u hereby acknowledged,
     has granted, bargained, and wld to the said grantee, and grantee's heirs and assigns forever, the following desctibed I.and.
     situate, lying and being In Broward County, Florid2 to-wit:

     A portion of Pan:el "A", "Cocobay", according to the plat thereof, u recorded in Plat Book 160, Page 6 of the Public
     Records or Broward County, Florida, being more particularly described as follows:

    Commence at the South Quarter (l/4) corner of Section 5, Township 48 South, Junge 42 East, as shown on the said
    plat of "Cocobay", the West Line of tbe Southeast 1/4 of said Section 5, havio: a bearlDe of North 01 degree, 05
    minutes 24 second., West; thence North 12 df:2rees, 36 minutes 14 seconds West for 693.66 feet to the Point of
    Beginning of the hereinafter described Parcel; thence South TT degrees 39 minutes 46 seconds West, along the South
    boundary line of said Parcel "A,., for 50.10 ftet, thente North ll dq!rees 20 minutes 14 seconds West, for 11S.OO feet;
    the.nee North 77 d!!irees 39 mlnut" 46 teC-Onds East. for 50.10 reer, thence South ll <1(1!r«s :20 minutes 14 seconds
                                            or
    East for I 15.00 feet to the Poi.Dt Beginning.

    Abo known as Lot 63, "Coeobay", an Unrecorded Plat in the City or Coconut Creek, Brownd Cou ■ ty, Florida.

    (Be2rings are based upon the West Lino or the Southca.,t 1/4 of Section S, Township 48 South, RJtngc 4:2 East, u
    shown on the Plat of "Cocobay", u reeordtd In Plat Book 160, Page 6 o! the Public Records or Broward County,
    Florid.a, having a bearing of North 01 degree OS minutes 24 second., Wert)

    Parcel Identifiation Number: 4842 05 ll 0630

    Together with all the tenements, hereditm1ents and appurtenances thereto belonging or in anywise appertaining.

   To Have and to Hold, the smnc in fee simple forever.

   And the grantor hereby covenants with said gnJrtec that the grantor is lawfully seized of said land In fee simple; that the
   grantor has good right and lawful authority to sell mid convey said land; that the grantor hereby fully warrants the title to said
   land and will defend the same against the lawfuJ claims of a.II persons whorruoever; and that said llllld is free of all
   encumbrances, except taxes aeeruing sub$equent to December 31, 2017.

                                                         CONTINUED ON NEXT PAGE

                                                                                                                                           Doublenm..
                      Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 121 of 124
   2/~4/22, 1:22 PM
                                                                                   4140 NW 62 COURT


         0 MARTY KIAR
    --~~
     ; . ~ BR ~W AR D

                Sito Addr ess
                f>rop erty Own er
                                     4140 NW 62 COURT, COC ONU T CRE
                                     GER MAIN , FRA NTZ & RITA
                                                                                   EK FL 33073-2047            ID I#      4842 05 22 0630
               ',\aili ng Addr oss                                                                             MIiia ge         3212
                                     4140 NW 62 CT COC ONU T CRE EK
                                                                                FL 33073                       Use
                                                                                                              01
               Abbr Lega l           COC OBA Y 160- 6 B THAT PART OF
               Desc riptio n                                         PARCEL A DES C'D AS, COMM ATS
                                     5-48 -42 NWLY 693.66 TO POB,SWL                                  1/4 COR OF SEC
                                                                     Y ALG S/L 50.10,NWLY 115.00,NELY
                                     TO PCB AKA: LOT 63 COC OBA Y                                     50.10, SELY 115

                      The Just valu es displayed below were
                                                              set In comp lianc e with Sec. 193.011, Fla.
                               redu ction for costs of sale and othe                                         Stat. , and Include a
                                                                       r adju stme nts requ ired by Sec. 193.0
                                                                                                                11(8 ).
                                                          Prop erty Asse ssme nt Valu os
                 Year         Land               Build ing/              Just / Mark et
                                               Impr ovem ent                                     Asse ssed /
                                                                            Value                SOH Value                 Tax
                 2019       $46,100              $267,940                 $314,040               $291 ,820
                 2018       $46,1 00             $241,540                 $287,640
                 2017                                                                            $286 ,380             $5,427.64
                            $40,3 30             $230,140                 $270,470               $164,320              $2,936.85
                                          2019 Exem ption s and Taxable Value
                                                                                   s by Taxin g Auth ority
                                                        Coun ty           Scho ol Boar d         Mun icipa l            Inde pend ent
               Just Valu e
                                                      $314,040                   $314,040          $314,040                 $314,040
               Porta bility
                                                              0                         0                  0                        0
               Asse ssed /SCH 18
                                                      $291,820                  $291,820          $291,820                  $291 ,820
               Hom este ad 100%
                                                        $25,000                   $25,000           $25,000                  $25,000
              IAdd . Hom este ad
                                                       $25,000                          0           $25,000                  $25,0 00
              IWld Net/D is
                                                              0                         0                  0                        0
               Seni or
                                                              0                         0                  0                        0
               Exem pt Type
                                                              0                         0                  0                        0
              7axa blc
                                                     $241,820                   $266,820          $241,820                 $241,820
                                        Sale s Histo ry
                                                                                                  Land Calc ulati ons
                    Date        Type          Price         Book /Pag e or GIN            Price               Fact or         Type
                12/19 /2017    WD- 0       $306,000             114801408                 $8.00               5,762            SF
                 3/5/1 999      WD         $138,100           29292 / 1526
                1/22/1998       WD*      $3,016,000            2759      1 / 976


                                                                                            Adj. Bldg . S.F. (Car d, Sket ch)       2000
             • Deno tes Multi -Parc el Sale (See Deed                                             Units /Be ds/B aths
                                                        )                                                                           1/3/2
                                                                                                Eff./A ct. Year Built : 2000/1999
                                                                  Spec ial Ane ssme nts
                Fire        Garb        Ligh t          Drain            lmpr        Safe         Storm           Clean         Misc
                32             z                        CM
                 R             1                        CM
                 1                                          .13




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                                           FoUo::484205220630
         Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 122 of 124
J   •




                                  PROPERTY OWNER BILL OF RIGHTS
                                       Section 70.002, Florida Statutes
        This Bill of Rights does not represent all of your
                                                              rights under Florida law regarding your
        property and should not be viewed as a com
                                                            prehensive guide to property rights. This
        document does not create a civil cause of action
                                                            and neither expands nor limits any rights or
        remedies provided under any other law. This
                                                          document does not replace the need to seek
        legal advice in matters relating to property law.
                                                           Laws relating to your rights are found in the
        State Constitution, Florida Statutes, local ordin
                                                          ances, and court decisions. Your rights and
        protection include:



                    1. The right to acquire, possess, and protect your
                                                                       property.
                    2. The right to use and enjoy your property.

                    3. The right to exclude others from your property.

                   4. The right to dispose of your property.

                   5. The right to due process

                   6. The right to just compensation for property
                                                                  taken for a public purpose..

                   7. The right to relief, or payment of compens
                                                                   ation, when a new law, rule,
                      regulation, or ordinance of the state or a political
                                                                           entity unfairly affects
                      your property.


                                                                  Effective July 1, 2019
.           Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 123 of 124




                   Placer®

    Dear Mr. Germain, I extend my sincerest sympathies for the passing of your daughter, Adelle. Her presence
    undoubtedly brought light and joy to many. I cannot imagine the pain you must be feeling, and it is
    completely understandab le. Thank you for sharing those cherished memories. Please do not hesitate to seek
    support during this difficult time. The emotional toll you are enduring may be too much to handle alone.
    Following a traumatic event, it is high ly advisable to seek mental health assistance. I am writing to notify
    you that Attorney Edward Misleh, License Number 273645, has been placed on permanent inactive status.
    Additionally, the office has found your wife, Rita Germain, equall y responsible and she must face the
    consequences. Mrs. Germain's false statements in the divorce petition must be addressed in the legal
    proceedings . In essence, a conviction for perjury, which involves knowingly making false statements under
    oath with the intent to deceive, is a grave matter. Since the crime occurred in Broward County, Florida, I
    recommend reporting both Mr. Misleh and your estranged wife to the local authorities immediately within
    the county's jurisdiction. I wish you the best of luck and take care of yourself.




    Feb 28, 2024

    Jane Christenso n
    Physical Address
    11434 B Ave.
    Auburn , CA 95603
    Phone 530-889-7141
    Fax 530-745 -3135
    jchristenson@placer.ca. gov
                Case 1:24-cv-02964-MHC Document 3 Filed 07/05/24 Page 124 of 124


 ROBBONTA                                                                                State of California
 Attorney General                                                                 DEPARTMENT OF JUSTICE



                                                                                                                     PO BOX 944255
                                                                                                         SACRAMENTO, CA 94244-2550
                                                                                                                      (916) 210-6276
                                                                                                           TOLL FREE (800) 952-5225
                                                                                                                TTY: CA Relay Service
                                                                                                                      (800) 735-2922
                                         MAY 06, 2022

PIU: 118548
Hell o Mr. Germain,



We have rece ived you r fo ll ow-up email and wou ld like to confirm that we are ful ly informed about Mr. Mi sleh's
misconduct. Th e ma tter has bee n escalated to Executive Leadersh ip Leah T W il son, Exec utive Director Georg~ ~a rdona,
and Chief Trial Counsel Ellin Dayan for a thorough investigation and appropriat e disciplinary measures. The Board.of
Trustees, w it h th e approval of the Ca lifornia Supreme Co urt, has in itiated this process in comp li ance with relevant statutes
to uphold pub lic protection and enforce standards for all State Bar licensed attorneys . Your case number i5 21-0-11943,
and rest assured that the de signated team w ill handle this matter dil igently and with great care.




Sincerely,
Public Inquiry Unit
ROB BONTA
Attorney General
